Case 1:18-cv-12233-LLS Document 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW
YORK

SHEILA
ROBINSON
PLAINTIFF
VS
DEFENDANTS

1.LARRY PAGE
2.SERGEY BRIN
3. MARK ZUCKERBERG
4.DAVID FILO
5. JERRY YANG
6.MAISSA MAYER
7.HANS VESTBERG
8. JEFF BEZIO
9.SATYA NADELLA
10.BRAD SMITH
11. GABRIEL WEINBERG
12.CEO (DOGPILE)
13.DEVIN WENG
14. PIERRE OMIDYAN
15. TIM ARMSTROMG
16. BEN SILBERMAN
17. JOEY LEVIN
18.JOANE WISON
19.FRED WILSOM
20.AMY CHESHIRE
21. DAVE WECHSLER
22. JASON APFEL
23. LLOYD PARKS
24, MICHAEL LOGAN
25.GRES MAFFEI
26. JOHN MALONE
27. AJAY SINGH
28.LEX WEXNER
29.DAVID MCCONNELL
30.KIM KARDASHIAN WEST -ADDRESS UNKNOWN
31. KYLE KARDASHIAN

32. DOUGLAS MCMILLION
33. KANYE WEST

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18 CV

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eR A MERE OO CERO CAA ET RNR RE REO H METS e RAR

*MOTION FOR PERMANENT /PRELIMINARY /TEMPORARY / STALKING
INJUNCTION-SEPARATE
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Introduction
1.This is a complex RICO claim alledging violation of 18 USC 1962 (a)(b)(c)(d)
brought by plaintiff against all named defendants arising from a complex
widespread schemes to defraud plaintiff and plaintiffs brand company or
companies and brand product lines in a pattern of predicate acts in violation of
extortion under the hobbs act 1954 and RICO
2. The schemes were based on the defendants organizing as a organization and
using their organization and business as a crimial enterprise to target, stalk,and
defraud plaintiff and plaintiffs brand company and or
companies
Le Jurisdiction and Venue
This court has subject matter jurisdiction over this action pursuant to 18
USC1964.Venue is proper in this judicial district pursuant to 18
USC1965(b) .
bob bceeceeseeceeeeeeeueueeeseseensnneenetesees Standing
Plaintiff resides in New York since 1975,Plaintiff started named, formed
companies in 1997,2013,2016,2018 in New York ,Plaintiffs 's company/ business
was injured /damaged by named defendants by reason of RICO violation
1962(a)(b)(c)(d) targeting plaintiffs companies in New
YOK (ieee Grrr ttt tt enr resent teeeseanenenereeeeerininees
voc ceeeeeeeaeeeceeeuesaeseeeeeseseeeeeeeeenteenneneeeesuaneseneniaes Statue Of Limitations
Plaintiff did not discover the fact of company /business was being intentionally
targeted by the named defendants until 2015. The named defendants were
suppose to be accredited , and reputable ,no warning from any goverment or
law agency or news organization notified- broadcasted plaintiff or other
companies or buinesses that named defendants were operating a criminal pozzi
like enterprise intentionally diverting revenue from online companies causing
financial loss to companies and bringing financial gain to themselves. Plaintiff
had limited computer skills and could not have discovered these facts despite its
exercise of reasonable
diligence
coveeeccucuaeseseceeeeeaeeeeeeeaeeneeeeeeesaneeess Injuries /Damages
1.Loss in profits and revenue as other brand companies
2.Corrective Advertising
3.Relocation Cost
4.Unpaid/ royalaties
5. Reputation and Goodwill
6. TOTAL DAMAGES $ 91.450,000,000 BILLION
DOLLARS (es
ccdeeeceueaeeeececeeeaeeeeeeeeeesaeeeeeeseeeceeeeeeeeeneteeteaa ees Cause of Action
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1. RICO VIOLATIONS 1962 (a)(b)(c)(d)

2. common law trademark infridgement under the Lanham act 43 (a) 1125
3.Unfair trade practices under the laham act 43( a)1125

4. Cybersgatting under the laham act 43 (a)1125

5. False designation of origin under the laham act 43(a)1125

5. Cyberstalking /Stalking 2261(a) (b)

6.Extortion under the hobbs act 18 USC 1954 _

7. unfair competition under the laham act 43 (a) 1125

8.Racketeering activity / Predicate acts 1961 (5)
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PREDICATE ACTS

. CYBERSTALKING /STALKING - 2261A-B

. COMPUTER FRAUD - 18 USC 1029 ,1030 (a)(7)

. WIRE FRAUD - 18 USC 1343

. MAIL FRAUD 18USC 1341

. SCHEME TO DEFRAUD -18 USC 1346

. EXTORTION UNDER THE HOBBS ACT -18USC 1959
. TRAFFICING IN COUNTERFEIT GOODS 18USC 2320
8. INTERFERENCE IN INTERSTATE AND FOREIGN COMMERCE 18 USC
1951 9. CYBERSQUATTING

10. EMBEZZLEMENT

11. MURDER FOR HIRE

12. BRIBERY 18 USC 201

13. RETALIATION -18USC1513

14.AIDING AND AIBETTING

15.RACKETEERING 1961

16. ECONOMIC ESPIONAGE 18 USC 1831

17. HATE CRIME

18. DEPRIVIATION OF RIGHTS 18USC 241-242

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boo beeeueceseesecaeseesseeuesieenereeenees COUNT |!

bebe ceseeeeeeeeeteeees Income Derived from a pattern of Racketeering

Activity . or through the
collection of aunlawfuldept, i ceedttttttttttteeeeeeeeeeeeeees 18

U.S.C. 1961 (5), 1962 (a)

1. The allegations of paragraph1 through 2 are documentary materials
incorporated herein by reference.

2.The allegations of paragraph 1 through 25 in plaintiffs Case Statement are
documentary materials incorporated herein by reference

3.The COUNT | is against all defendants named _ ,except and excluding
defendants of COUNT (c),(d)

4. At various times and places efendants received income from a pattern of
racketeering activity and/or through a collection of an unlawful dept,directly or
indirectly

5. During the past 10 years, all defendants did cooperate jointly and severally in
the commission of two(2) or more of the predicate acts itemized at 18 U.S.C.
1961 (1) in violation of 18 U.S.C.1962 (a)

6.All defendants did commit two (2) or more of the offenses itemized above in a
manner which they calculated and premeditated intentionally to threaten
continuity,a continuing threat of their respective racketeering activities,in violation
of the RICO law 18 U.S.C.1962 (a)

7.As a direct and proximate result of the count | defendant racketeering activities
and violations of 18 U.S.C 1962(a) plaintiff have been injured in their
business +property. bea

WHEREFORE plaintiff request that this court enter judgement against the
count | defendant as follows (.SEE RELIEF REQUESTED ) .
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COUNT

il ... Acquisition and Maintenance of
an interest in and Control an
Enterprise Engaged in a Pattern of Racketeering Activity

18 U.S.C.1961(5) 1962 (b)

1.The allegation of paragraphs 1----through-2----- are documentary materials
incorporated here in by reference

2.The allegations of paragraph 1 through 25 in Plaintiffs Case Statement are
documentary materials incorporated herein by reference

3.This count is against all defendants ,except and excluding COUNT 1962(c)(d)
defendants

4 At various times and places all named defendants enumerated in plaintiffs
above documentary materials , did acquire and /or maintain ,directly or indirectly
an interest in or control of a RICO enterprise of individuals who were associated
in fact and who did engage in ,and whose activities did affect,interstate and
foreign commerce,all in violation of 18 U.S.C.1961,1962(b)

5. The count II defendants have directly and indirectly acquired + maintained
interests in and control of the enterprise through a pattern of racketeering activity
6.The racketeering activity listed above constitutes a pattern of racketeering
activity pursuant to 18 U.S.C. 1961(5)

7. During the ten years,all defendants did cooperate jointly and severally in the
commission of two or more of the predicate acts itemized at 18 U.S.C. 1961 (1)
in violation of 18 U.S.C. 1962(b)

8..All defendants did commit two (2) or more of the offenses itemized above in a
manner which they calculated and premeditated intentionally to threaten
continuity,a continuing threat of their respective racketeering activities,in violation
of the RICO law18 U.S.C.1962(b)

9 As a direct and proximate result of the COUNT II defendants racketeering
activities and violations of 18 U.S.C. 1962 (b) plaintiff have been injured in their
business .

10. WHEREFORE -Plaintiff request that this court enter judgement against the
COUNT II defendants as follows (SEE RELIEF REQUESTED )

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Conduct and participation in a RICO Enterprise
through a Pattern of Racketeering Activity:
18 U.S.C. 1961(5) 1962 (c)

1.The allegations of paragraphs1 through2 are documentary materials
incorporated here in by reference.

2.. The allegations of paragraph 1 through 25 in Plaintiffs Case Statement are
documentary materials incorporated herein by reference

3 This COUNT Ill is against all defendants

4 Named defendants is a enterprise engaged in and whose activities affect
interstate and foreign commerce. The count Ill defendants are employed by or
associated with the enterprise.

5 .The_COUNT Ill defendants agreed to and did and conduct and participate in
the conduct of the enterprises affairs through a pattern of racketeering activity
and for the unlawful purpose

6. At various times and places enumerated in plaintiffs documentary material,all
defendants did associate with a RICO enterprise of individuals who were
associated in fact and who engaged in ,and whose activities did affect interstate
and foreign commerce. All defendants did conduct and /or participate either
directly or indirectly,in the conduct of the affairs of said RICO enterprise through
a pattern of racketeering activity in violation of 18
U.S.C. 1961 (5),1962 (c)

7..During the ten years,all defendants did cooperate jointly and severally in

the ..commission of two or more of the predicate acts itemized at 18
U.S.C. 1961(1) in violation of 18 U.S.C. 1962 (c)

8.All defendants did commit two (2) or more of the offenses itemized above in a
manner which they calculated and premeditated intentionally to threaten a

continuity ,a continuing... __ .........threat of their respective racketeering
activities ,in violation of the RICO law 18 U.S.C.
1962 (c)

9 The count Ill defendants have directly and indirectly conducted and
participated in the conduct of the enterprises affairs through the pattern of
racketeering and activity described above in violation of 18 U.S.C. 1962 (c)
10.. As a direct and proximate result of the count Ill defendants racketeering
activities and violations of 18 U.S.C. 1962 (c) plaintiff have been injured in their
business. bene

beeee WHEREFORE -Plaintiff request that this court enter
judgement against the count Ill defendants as follows ( SEE X---------- )
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COUNT IV

bene Conspiracy to Engage ina

bee eee bee etter eeteeeeetteeettetees pattern of Racketeering Activity :

bee eeeeeeeccueuunensaeseeeereeeeeeess 18 U.S.C. 1961 (5) 1962

(d) .

1.The allegations of paragraph 1through 2 are documentary materials
incorporated here in by reference

2.The allegations of paragraphs 1 through 25 in Plaintiffs Case Statement are
documentary materials incorporated herein by reference.

2.This COUNT IV is against all named defendants

3. At various times and places partially enumerated in plaintiffs documentary
material all defendants conspired to receive income derived,directly or indirectly
from a pattern of racketeering activity ,or through collection of an unlawful debt in
which such persons has participated which is engaged in or the activities affect
interstate or foreign commerce in violation of 18 USC 1962 (a) (d)

4..At various times and places partially enumerated in Plaintiffs documentary
material, all defendants did conspire to acquire and maintain an interest in a
RICO enterprise engaged in a pattern of racketeering,in violation of 18
U.S.C.1962 (b)(d) 5 At various times and
places partially enumerated in plaintiffs documentary material all defendants
did also conspire to conduct and participate in said RICO enterprise through a
pattern of racketeering activity in violation of 1962 (c) (d)

6.During the ten years,all defendants did cooperte jointly and severally in the
commission of two (2) or more of the predicate acts itemized at 18 U.S.C. 1961
(1) in violation of 1962 (d)

7. All defendants did commit two (2) or more of the offenses itemized above ina
manner which they calculated and premeditated intententionally to threaten a
continuity ,a continuing threat of their respective racketeering activities, in
violation of the RICO law 1962 (d)

8. As a direct and proximate result of the count IV defendants conspiracy,the
overt acts taken in furtherance of that conspiracy ,and violation of 18 U.S.C.
1962 (d) plaintiff have been injured in their business and property in

that
WHEREFORE plaintiff requests that this court enter judgement against the
COUNT IV defendants as follows (SEE RELIEF REQUESTED)

PLAINTIFF DEMAND TRIAL BY JURY
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RELIEF REQUESTED

bocce ee eeeeeseeaaeeees WHEREFORE, pursuant to the staues at 18 U.C.C.1964(a))(c)
Plaintiff requests judgment against all defendants as
follows:

....ON COUT ONE
1.That this court liberally construe the RICO laws and thereby find that all
defendants ,both jointly and severly,has received income derived from a pattern
of racketeering activity or through a collection of an unlawful dept,used such
income ,in acquisition or interests,or the establishment or operation of a
enterprise engaged in,and whose activities did affect interstate and foreign
commerce in violation of 1962(a)
2.That all defendants and all their directors, officers,employees,agents,servants
and all other persons in active concert or in participation with them,be enjoined
temporarily during pendency of this action ,and permantly thereafter,from
aquiring or maintaining ,whether directly or indirectly,any interest or control of
any RICO enterprise of persons,or of other individuals associated in fact,who are
engaged in,orwhose activities do affect,interstate or foreign commerce.
3.That all defendants and all of their
directors, officers, employees,agents,servants and all other persons in active
concert or in participation with them ,be enjoined temporarily during pendency of
this action,and permantly thereafter,from committing any more predicate acts in
furtherance of of the RICO enterprise alledged in COUNT ONE
4.That all defendants be required to account for all gains, profits,and advantages
derived from their several acts of racketeering in violation of 18 USC 1962(a).
5 That judgment be entered for plaintiff and against all defendants for plaintiffs
actual damages,and for any gains, profits,or advantages attributable to all
violations of 18 USC 1962 (a)
6.That all defendants pay to the plaintiff triple damages ,under authority of 18
USC 1964 (c)
7. That all plaintiffs pay to the plaintiff cost of the lawsuit incurred herein
including ,but not limited to, all necessary research, private investigations,expert
witnesses,travel expenses,all non judicial enforcement and all reasonable pro se
fee's at $500 dollars @ 10 hours 6days per week ,.worked on at start of this
action from 2015.,and other counsel fee's, detailed in summary of dammages list
8. A permanent injunction from all defendants
frompromoting,advertising,soliciting, manufacturing,selling,or using any of as of
/similar plaintiffs named companies brand name or company product lines in
commerce.
9.That named defendants destroy any and all products manufactured and
cloned ,similar,of plaintiffs companies brand identity.
10. That named defendants except defendants that have lived and resided in
upstate new york prior to 2013 not ever relocate any,business or resident
property in upstate New York where plaintiff lives resides and does business, or
their property forfeits to plaintiff .
11..That named defendants except defendants that resided prior 2013 _ forfeit
any property aquired in upstate new york to plaintiff.

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12.That named search engine defendants remove all named cyber squatted
and infridging domains from their computer servers permantly.

13. That all domain registras cancel all of the cyber squatted infridging
domains of plaintiffs company's and companies product lines identity.

14..That all search engine defendants remove the search pages created of
plaintiffs company identities,product line identities from their computer servers
permantly

15.That search engine defendants cease and decease, solicting any
marketing,sells,advertising, affiliation, of any of plaintiffs companies, or plaintiffs
companies product lines permantly, and remove the hundreds to thousands to
millions of other businesses from their computer servers in the online search for
plaintiffs companies permantly. .

16. That named defendants disclose any shell companies ,business
interest,investments ,of similar,cloned names of plaintiffs companies brand
names,or product lines and forfeit it to the plaintiff.

17. That all named defendants be banned from buying any stock in plaintiffs
public companies or possible public companies,or investing in any of plaintiffs
companies. 18. That all named defendants
pay relocation costs of plaintiffs business/home. 19. That
all defendants pay the cost of loss profits and revenue/ unpaid rolayaties/in
injunction relief /and other costs detailed in-list of summary of damages
20.That all the trademarks registered by defendants as of /and /of of plaintiffs
companies brand identities and product line identities be canceled.

21. That all defendants pay the cost of manufacturing and corrective nationwide
advertising relaunching costs of plaintiffs companies brands and product lines
to the original designation of origin

22. A permanent injunction to all defendants from contacting any of plaintiffs
manufacturers and suppliers or interfering with interstate or foreign commerce to
any of plaintiffs companies or companies product lines

23. A EX PARTE SEIZURE. That HOMELAND SECURITY enforce the
intellectual property rights of plaintiffs companies ; GORGEOUS JEANS
INTERNATIONAL TM , INSIDE LIMOS CLOTHING TM,HERE-DEAR
INTERNATIONAL TM,FRANKIE SALLY INTERNATIONAL TM ,CHUONG OO
CHOOSE INTERNATIONAL TM, that consits of product

lines; STREETCLOTHES INCLUDING DENIM JEANS ANDT-

SHIRTS, FOOTWEAR,FRAGRANCES,COSMETICS, FOODPRODUCTS,MAGAZ
INES, SWIMWEAR INCLUDINGBOARDSHORTS, BEER,LIQUOR AND
WINES,BEVERAGES, JEWELRY INCLUDING WATCHES,CERTAIN
STAIONERY PRODUCTS,CERTAIN TOY PRODUCTS, BIKES , that could
generate plaintiff and plaintiffs companies $billions to $trillions of dollars.. (SEE
EXPERT WITNESSES AND DISPOSITIONS )
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ON COUNT TWO

ssaene1. That this court liberally construe the RICO laws and thereby find that all
defendants both jointly and severly ,have aquired and maintained ,both directly
and indirectly,an interest in and/or control of a RICO enterprise of persons and of
other individuals who were associated in fact,all of whom engaged in ,and
whose activities did affect ,interstate and foreign commerce in violation of 18
U.S.C.1962 (b)(prohibited activities)

2.That all defendants and ail of their

directors, officers,employees,agents,servants and all other persons in active
concert or in participation with them,be enjoined temporarily during pendency of
this action ,and permanently there after,from acquiring or maintaining whether
directly or indirectly, any interests in or control of any RICO enterprise of
persons,or other individuals ,associated in fact,who are engaged in ,or whose
activities do affect ,interstate or foreign commerce.

3.That all defendants and all their directors,officers,employees,agents,servants
and all other persons in active concert or in participation with them ,be enjoined
temporaily during pendency of this action, and permanently thereafter, from
committing any more predicate acts in furtherance of the RICO enterprise
alledge in COUNT TWO

4That all defendants be required to account for all gains, profits,and advantages
derived from their several acts of racketeering activity in violation of
18U.S.C.1962(b)

5.That judgement be entered for plaintiff and against all defendants for
plaintiffs actual damages,and for any gains, profits, or advantages, attributable to
all violations of 18 U.S.C. 1962 (b)

6. That all defendants pay to plaintiff triple damages under authority of
18U.S.C.1964 (c)

7.That all defendants pay to plaintiff costs of the lawsuit, incurred herein
including but not limited to all necessary research, investigations,experts,all non
judicial enforement and all reasonable pro se fee's at $500 per hour at 10 hours
per day since 2015-2018 ,detailed in summary of dammages

list

8.A permanent injunction from all defendants from

promoting ,advertising ,soliciting, manufacturing ,selling,or using any of/as of
/similar of /cloned as _ plaintiffs named companies brand name or company
product lines in commerce

9. That named defendants destroy any and all products manufactured and
cloned, similar,of plaintiffs companies brand identity

10.That named defendants except defendants that have lived and resided in
upstate new york prior to 2013 not ever relocate any business or residential
property in upstate new york where plaintiff lives and resides and does
business ,or their property forfeits to plaintiff.

11. That named defendants except defendants that resided prior 2013 forfeit
any property aquired in upstate new york to plaintiff

12.That named search engine defendants remove all named cyber squatted and
infridging domains from their computer servers

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13 That all named domain registra’s cancel all of the cyber squatted infridging
domains of plaintiffs company's and companies product lines identity
14. That all named search engine defendants remove the search pages created
of plaintiffs company identities ,product line identities from their computer
servers permantly
15.That search engine defendants cease and decease ,soliciting any
marketing,sells advertising, affiliation,of any of plaintiffs companies,or plaintiffs
companies product lines permantly,and remove the hundres to thousands to
millions of businesses of other businesses from their computer servers in the
online search for plaintiffs companies product lines permantly,and remove the
hundreds to thousands to millions of other businesses from their computer
servers inthe online search for plaintiffs companies permantly.
16. That named ,defendants disclose any shell companies ,business
interests ,investments,of similar,cloned names of plaintiffs companies brand
names,or product lines and forfeit to the
plaintiff

17. That all defendants be banned from buying
stocks from any of plaintiffs public companies investing in plaintiffs possible
public companies. 18. That all
named defendants pay plaintiffs relocation costs of plaintiffs business/home ..
19.That all defendants pay the cost of loss profits and revenue /unpaid
royalaties/in junction relief /and other costs detailed in list of summary of
damages.
20.That all the trademarks registered by defendants as of/and /of of plaintiffs
companies brand identities and product line identities be canceled.
21.That all defendants pay the cost of manufacturing and corrective nationwide
advertising relaunching costs of plaintiffs companies brands and product lines to
the original designation of origin.
22. A permanent injunction to all defendants from contacting any of plaintiffs
manufacturers or suppliers or interfering with interstate or foreign commerce to
any of plaintiffs companies or companies product lines.
23. AEX PARTE SEIZURE. That HOMELAND SECURITY enforce the
intellectual property rights of plaintiffs companies; GORGEOUS JEANS
INTERNATIONAL TM,INSIDE LIMOS CLOTHING TM,HERE-DEAR
INTERNATIONAL TM,FRANKIE SALLY INTERNATIONAL TM,CHUONG OO
CHOOSE INTERNATIONAL TM,that consists of product
lines ;STREETCLOTHES-INCLUDING DENIM JEANS AND T-
SHIRTS,FOOTWEAR,FRAGRANCES,COSMETICS, FOOD
PRODUCTS,MAGAZINES,SWIMWEARINCLUDING BOARD
SHORTS,BEER,LIQUOR AND WINES,BEVARAGES, JEWELRY INCLUDING
WATCHES,CERTAIN STATIONERY PRODUCTS,CERTAIN TOY
PRODUCTS,BIKES, that could generate plaintiff and plaintiffs companies
$billions to $trillions of dollars (SEE EXPERT WITNESS AND DISPOSITIONS )
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ON COUNT THREE

1. That this court liberally construe the RICO laws and thereby find that all
defendants have associated with a RICO enterprise of personsand of other
individuals who were associated in fact ,all of whom did engage in ,and whose
activities did affect, interstate and foreign commerce in violation of the RICO
law at 18 U.S.C. 1962 (c)

2.That this court liberally construe the RICO law and thereby find that all
defendants have conducted and / or participated ,directly or indirectly ,in the
affairs of sad RICO enterprises through a pattern of racketeering activity in
violation ot the RICO laws at 18 U.S.C. 1961 (5) ( pattern defined ) and 1962 (c)
3.That all defendants and all their directors ,officers,employees,agents,servants
and all other persons in active concert or in participation with them be enjoined
temporarily during pendency of this action ,and permantly thereafter,from
conducting or participating either directly or indirectly from committing any more
predicate acts in furtherance of the RICO enterprise alledged in COUNT THREE
4. That all defendants be required to account for all gains,profits,and
advantages derived from their several acts acts of racketeering in violation of
18U.S.C 1962 (c) 5. That judgement be entered for
plaintiff and all against defendants for plaintiffs actual damages,and for any
gains, profits,or advantages attributable to all violations of 18 U.S.C. 1962 (c)

6. That all defendants pay to plaintiff triple damages under authority of 18
U.S.C. 1964 (c)

7. That all defendants pay to the plaintiff cost of the lawsuit incurred herein
including,but not limited to ,all necessary research , private investigations,expert
witnesses, travel expenses,all judicial and non judicial enfocement ,and all
reasonable pro se fee's at $500 per hour @10 hours 6 days per week ,from
2015-2018 and other counsel fee's detailed in list of summary of damages

8..A permanent injunction from all defendants from manufacturing,selling,or
using any of plaintiffs companies brand name,or companies brand product lines
in commerce .

9.. That named defendants destroy any and all products manufactured and
cloned,similar of plaintiffs company brands or company brand product lines.

10. That named defendants except defendants that have lived and resided in
upstate new york prior to 2013 not ever relocate any business or residential
property in upstate new york where plaintiff lives resides and does business or
their property forfeits to plaintiff.

11.That named defendants except defendants that resided prior to 2013 forfeit
any property aquired in upstate new york. to plaintiff.

12.That named search engine defendants remove all cyber squatted and
infridging domains from their computer servers permantly. .

13.That all domain registras cancel all of the cyber squatted domains and
named cyber squatted and infridging domains of plaintiffs companies
identity,and product line identity .

14. That all search engine defendants remove the search pages created of
plaintiffs companies identities ,and companies product lines identities. From their
computer servers permantly.

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15That search engine defendants cease and decease , solictiting any
marketing ,sells,advertising, affiliation,of any of plaintiffs companies,or plaintiffs
companies product lines and remove the hundreds to thousands to millions of
other businesses from their computer servers in the online search for plaintiffs
companies permantly

16.That all named defendants disclose any shell companies, business
interest,investments of,similar,cloned names of plaintiffs companies brands,or
companies brands product lines.and forfeit it to plaintiff

17. That all named defendants be banned from buying any stocks in plaintiffs
public companies or possible public companies or investing in any of plaintiffs
companies.

18. That all named defendants pay relocation costs of plaintiffs business/nome
19.That all named defendants pay the cost of lost profits and revenue /unpaid
royalaties /in junction relief ‘and other costs detailed in summary of damages list
Ss. 20. That all the
trademarks registered of plaintiffs companies brands identities and companies
product lines identities by named defendants and /or others be canceled.

21. That all defendants pay the costs of manufacturing and corrective
nationwide advertising costs and relaunching of plaintiffs company brands and
companies product line. To the original designation of origin..

22. A permanent injunction to all named defendants from contacting any of
plaintiffs manufactures and suppliers or interfering with interstate or foreign
commerce to any of plaintiffs company brands or companies brand product
lines.. 23. AEX PARTE SEIZURE .That
HOMELAND SECURITY enforce the intellectual property rights of plaintiffs
companies ;GORGEOUS JEANS INTERNATIONAL TM,INSIDE LIMOS
CLOTHING TM,HERE-DEAR INTERNATIONAL TM,FRANKIE SALLY
INTERNATIONAL TM, CHUONG OO CHOOSE INTERNATIONAL TM,, that
consists of product lines; STREETCLOTHES INCLUDING DENIM JEANS AND
T-SHIRTS ,FFOOTWEAR,FRAGRANCES,COSMETICS,FOOD
PRODUCTS,MAGAZINES,SWIMWEAR INCLUDING

BOARDSHORTS ,BEER,LIQUOR AND WINES,BEVERAGES JEWELRY
INCLUDING WATCHES,CERTAIN STATIONERY PRODUCTS ,CERTAIN TOY
PRODUCTS,BIKES BRANDS , that could generate plaintiff billions to trillions of
$dollars in revenue. (SEE EXPERT WITNESSES AND DISPOSTION )
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ON COUNT IV

1.That this court liberally construe the RICO laws and thereby find that all
defendants have conspired to receive income derived directly or indirectly from
a pattern of racketeering activity and/o directly or indrectly in the collection of
an unlawful dept , participated,associated with enterprise and or used or

invest ,directly or indirectly any part of such income ,in acquisition of any
interests in ,or the establishment or operation of any enterprise which is engaged
in and ,or of the activities that affect interstate or foreign commerce in violation
of 18 u.s.c. 1961(5),1962(a)(b)(c) (d)

2. That this court liberally constue the RICO laws and thereby find that all
defendants have conspired to acquire and maintain an interest in ,and or
conspired to acquire and maintain control of a RICO enterprise engaged in a
pattern of racketeering activity in violation of 18 U.S.C. 1961(5)1962 (b) (d).
3.That all defendants and all their directors, officers, employees,agents,servants
and all other persons in active concert or in participation with them ,be enjoined
temporarily during pendency of this action , and permantly thereafter,from
conspiring to acquire,benefit, or maintain an interest in,or control of,any RICO
enterprise that engages in a pattern of racketeering activity in violation of
18U.S.C. 1961 (5), 1962 (d)

4.That all defendants and all their directors ,officers,employees,agents,servants
and all other persons in actiive concert or in participation with them ,be
enjoined temporarily during pendency of this action ,and permantly thereafter,
from conspiring to committing,or committing any more predicate acts in
furtherance of the RICO enterprise alledged in COUNT ONE,COUNT II ,COUNT
Iil,COUNT IV

5. That all defendants be reqiured to account for all gains, profits,and advantages
derived from their several acts of racketeering in violation of 18 U.S.C. 1962 (d)
6. That judgement be entered for plaintiff and against all defendants for plaintiffs
actual damages,and for any gains,profits,or advantages attributtable to all
violations of 18 U.S.C 1962 (d)

7. That all defendants pay to plaintiff triple damages,under authority of 18 U.S.C.
1964 (c),for any gains, profits,or advantages attributtable to all vilolations of 18
U.S.C.1962 (d)

8.That all defendants pay to plaintiff cost of the lawsuit incurred herein including
but not limited to ,all necessary research, private investigations,expert

witnesses, travel expenses,all non judicial enforcement and all reasonable pro se
fee's at $500 per hour @10 hours 6 days per week, 2015-2018,and other
counsel fee's as listed in summary of damages.

9.A permanent injunction from all defendants from manufacturing ,selling,or
using any of plaintiffs named companies brand name or product lines in

commerce. 10. That named defendants destroy any
and all products manufactured and cloned ,similar of plaintiffs companies brand
identity. 11.That named

defendants except defendants that have lived and resided in upstate new york
prior to 2013 not ever relocate any business or resident property in upstate new
york where plaintiff lives resides and does business ,or their property forfeits to

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vee eneenenenneeeeeeenenes VERIFICATION

| SHEILA ROBINSON ,Am a plaintiff in the above

action . | have read the foregoing and know the contents
therefore. The same is true of my own knowledge ,as to
those said alledged on

investigation ,evidence,information and belief as to
those matters, believe to be true. | declare under penalty
of perjury that the foregoing is true and correct and this
declaration was executed in Albany New York 12202.
DATED: /2/2¢ 20/5

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plaintiff.

12. That named defendants except named defendants that resided prior to 2013
forfeit any property acquired in upstate new york. To plaintiff.

13. That named search engine defendants remove all named cybersquatted
infridging domains from their computer servers.

14. That all domain registra defendants cancel all of the cyber squatted
infridging domains of plaintiffs companies and companies product line identity.
15. That all search engine defendants remove the search pages created of
plaintiffs companies identities, product line identities from their computer servers
permantly.

16.That search engine defendants cease and decease ,promoting, soliciting any
marketing, sells,advertising, affiliation ,of any of plaintiffs companies ,or plaintiffs
companies product lines permantly,and remove the hundreds to thousands to
millions of other businesses from their computer servers in the online search for
plaintiffs companies permantly.

17. That named defendants disclose any shell companies ,business

interest ,investments,of similar,cloned names of plaintiffs companies brand
names,or product lines and forfeit it to the plaintiff.

18.That all defendants be banned from buying any stock in plaintiffs public
companies or possible public companies ,or investing in any of plaintiffs
companies.

19. That all defendants pay the relocation costs of plaintiffs business/home.

_ 20. That all defendants the cost of loss profits and revenue /un paid royalaties
/in junction relief/and other costs in detailed list in summary of damages

21. That all defendants registered trademarks cloned / as of /and /of plaintiffs
companies and companies product lines be canceled.

22. That all defendants pay the cost of manufacturing and corrective nation wide
advertising relaunching costs of plaintiffs companies brands and product lines to
the original designation of origin.

23. A permanent injunction to all defendants from contacting any of plaintiffs
manufacturers and suppliers or interfering with interstate or foreign commerce to
any of plaintiffs companies or companies product lines.

24. AEX PARTE SEIZURE. That HOMELAND SECURITY enforce the
intellectual property rights of plaintiffs companies; GORGEOUS JEANS
INTERNATIONAL TM,INSIDE LIMOS CLOTHING TM,HERE -DEAR
INTERNATIONAL TM,FRANKIE SALLY INTERNATIONAL TM,CHUONG OO
CHOOSE INTERNATIONAL TM,that consists of product

lines; STREETCLOTHES INCLUDING DENIM JEANS AND T-
SHIRTS,FOOTWEAR,FRAGRANCES,COSMETICS,FOOD
PRODUCTS,MAGAZINES,SWIMWEAR INCLUDING BOARD
SHORTS,BEER,LIQUOR AND WINES, JEWELRY INCLUDING
WATCHES,CERTAIN STATIONERY PRODUCTS,CERTAIN TOY

PRODUCTS, BIKES, that could generate plaintiff and plaintiffs companies
$billions to $trillions of dollars. (SEE EXPERT WITNESSES AND
DISPOSITIONS )
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CASE STATEMENT INTRODUCTION
Plaintiff is a native New Yorker moving to New York in 1975,from Conniecut at
11 years old. Plaintiff worked at age 18 from 1982-1998 ,in Hauppauge New
York,Deer Park New York ,Farmindale New York Melville New York
manufacturing assorted products in many factories including
toys,apparel,cosinetics, including Cosmetic Giants DELL LABS and ESTTEE
LAUDER. Plaintiff then in 1997 in Mastic New york started, named and formed
as a sole proprieter brand name company business GORGEOUS JEANS
INTERNATIONAL. TM Plaintiff filed a DBA business certificate ,and formed full
brand name product line of streetclothes,cosmetics, fragrances
magazines, footwear,swimwear food products SEE EXHIBITS E1,E2,and then
forming online matching domain brand name in
1998www.gorgeousjeans.com.Plaintiff formed the company in the dot com boom
ERA , to generate millions of dollars in profit and advertised nationwide 24/7
the online website www.gorgeousjeans.com plans to go public ,and full
product line of street
clothes ,cosmetics ,magazines ,fragrances,footwear,swimwear,food products
SEE EXHIBITS-E3 in which plaintiffs product line is essential to gain
stockholders attention,with a continued nation wide 24/7 online website ad with
the going public ? QUESTION MARK, and to make huge profits as other brand
name companies, Plaintiff has maintained a online nation wide advertisement to
go public since’ 1998-2018 and continuing in which the internet is the platform
where start -ups make profit -some millions of dollars and then going public.
Plaintiff is the first to start and form the gorgeous brand product line with the
1997 formation of GORGEOUS JEANSINTERNATIONAL TM which is the
intellectual prope.ty rights of plaintiffs,who is entitled to exclusive rights and
exclusive use. GORGEOUS JEANS INTERNATIONAL TM is plaintiffs brand
trademark in which plaintiff has used the TM after the name in each and every
use in online nationwide advetisements since 1998 and on products since 1997
informing the public of plaintiffs company brand name trademark and plans to
go piublic. .Plaintiffs brand name was formed with 3 generic words and as other
brand names that were formed with generic wording as their brand and not in
use by anyone such as PLAYBOY ,HUSTLER ,KENTUCKY FRIED
CHICKEN ,BURGER KING ,Plaintiff advertised 24 /7 nationwide online plans to
go public in which millions have seen the only gorgeous product line with plans to
go public and automatically obtaining common law trademark rights in 2003
after 5 years of forming and upon information and belief obtaining famous
trademark rights as other brand companies in 2003-2018 SEE EXHIBITS-E4-
with nation wide online ads at website www.gorgeousjeans.com 24/7 with plans
to go public.aintiff also started and formed 2 other companies in 2013 ,INSIDE
LIMOS CLOTHING TM SEE EXHIBITS-E5, AND HERE -DEAR_SEE EXHIBITS
E6,,then a 3" company in 2016 FRANKIE SALLY INTERNATIONAL TM SEE
EXHIBITS E7 with full product lines, and forming and registering matching
domain names cf the High quality brand companies.Named defendants
conspired and engaged in multiple unfair trade practices,that include false
designation of origin,common law trademark infridgement, multiple redicate

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acts,economical espionage in the misappropriation of plaintiffs trade secrets,and
one or more of the defendants conspired harm to plaintiff in a scheme to defraud
plaintiff and plaintiffs company or companies in violation of extortion under the
hobbs act and in violation of RICO. Plaintiff has been injuried , named
companies injured in loss revenue and profit as other brand companies,
damages in corrective advertising,business goodwill and reputation

damaged .Defendants did commit 2 or more predicate offenses in a manner in
which they calculated and premeditated intentionally ,and intentionally to
threaten continuity of wide spread racketeering activity which affect interstate
and foreign commerce. ....................65.

beceees . 1.upon information and belief and
evidence # defendants 1,2,3,4,5,6,7,9,10,11,12,15,17 are the Ceo's and ex
Ceo's of the enterprises yahoo, msn, google, bing, go duck go ,ask,aol,ask,
SEE EXHIBITS -E8, are college educated computer programmers with o
experience in manufacturing or brand product ownership prior to plaintiffs. SEE
DISPOSITION _DS1 Plaintiff formed company GORGEOUS JEANS
INTERNATIONAL TM, and online company www.gorgeousjeans.com before
defendants became search engines in which defendants bought_out previous
search engine providers SEE EXHIBIT E9. Defendants and named co-
defendants in as early as 2004, and continuing,in which one of more conspired
harm to plaintiff, targeted, cyberstalked , plaintiffs online website ,seen the profits
that plaintiff could profit as other brand name companies, plus even huger
profits by taking business public as plaintiff had advertised nationwide 24/7 to
do since forming GORGEOUS JEANS INTERNATIONAL TM .Plaintiff
discovered in 2015 in as early as 2004 and continuing that defendants where
an organized group that had formed together to take plaintiffs company ,acting in
concert and using their business as a criminal enterprise, their computer,
computer servers ,internet as a access device. www.gorgeousjeans.com SEE
EXHIBITS E10 SEE DISPOSITION DS2. Defendants used emails to conceal
the fact that they were actually intentionally interfering with traffic and
commerce to plaintiffs website by emailing plaintiff as trusted helpful accredited
search engine providers of dot com businesses to get traffic more by plaintiff
injecting company domain into their blast engines. SEE EXHIBITS -E11----SEE
DEPOSITION DS3- Defendants were actually soliciting ,selling ,and collecting
profits from thousands to millions of other businesses knowingly and
intentionally diverting online traffic and sales away from plaintiffs online
website ,and then emailing plaintiff to continually inject their domain name in
their search engine blasts to get more traffic to business as helpful accredited
search engine providers, SEE ONLINE EVIDENCE, SEE DISCOVERY----D1----
to conceal that they were actually intentionally diverting online traffic of

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hundreds to thousands to millions of plaintiffs online traffic away from plaintiffs
online website towards other companies businesses including competitors of
plaintiffs company SEE DIRECT ONLINE EVIDENCE SEE EXHIBITS E12.SEE
DEPOSITION DS4 Defendants used their business as a criminal enterprise, and
used their computer servers as a access device to than inject the thousands to
millions of their solicited businesses that was collected as income and profit
even removing plaintiffs name from the search of plaintiffs own online
company,in unfair trade practices, using their computer servers. SEE EXHIBIT
E13. Defendants used their computer servers as a access device to interfere
with internet commerce, and collected income derived from a pattern of
racketeering activity in computer fraud 18 usc 1029-1030, wire fraud 18 usc
1343, mail fraud 1341 ,scheme to defraud 1346,common trademark infridgement
under 43a 1125,unfair competition under 43a1125,economic espionage

18usc ,cyberstalking 2261a-b,racketeering 18usc1954,interference with
interstate and foreign commerce 18 usc 1951,and extortion under the hobbs act
in violation of rico 1962 (a)(b)(c)(d)

A. The same named defendants # 1,2,3,4,5,6,7,9,10,11,12,15,17, in as early as
2004 and continuing, continued schemes to defraud plaintiff and plaintiffs
company and product lines ,and used their computer servers as a access
device infiltrate and to sell,solicit and mis appropriate plaintiffs company and
company product line trade secrets, embezzle the company brand identity of
plaintiffs, and plaintiffs company brand product line identity. The defendants
than created online search pages of plaintiffs product line GORGEOUS JEANS
INTERNATIONAL TM in their computer servers, than injected multiply cyber
sqatted domains of co defendants #

20,21 ,22 23,24 ,25,26,27 ,28,29,30,31 ,32,33,34,35,36,37,38,39,40,41,42,43,44,4
5 46 47 48,49 50,51,52,53,54,55,56,57,58,59,60,61 ,64,76,77,78,79,80,81,82,83,
84,85, 86,87,88,89,90,91,91,92,93,94,95, into their created online search pages
of plaintiffs company identity ,and company brand product line identity to cause
a mass false designation of origin and in unfair trade practices,and in furtherance
of their schemes.. SEE EXHIBIT----E14-AND_ SEE ONLINE
EVIDENCE-------------- The acts of mass businesses with identical company
identities of plaintiffs company appearing in the computer servers of the search
engine defendants of plaintiffs product line,and online business where not
isolated incidents of different businesses and individuals with the same
company ideas at the same time but of the named organized group of computer
programmer named defendants # 1,2,3,4,5,6,7,9,10,11,15,17 ceo's of the
search engine enterprises yahoo,google,msn,ask,bing,aol,go duck go, and .their
co defendants and 3r¢ party associates that acted in concert, organized as a
group and conspired a civil conspiracy to act in concert and use their business
as a criminal enterprise and computer servers as a access device to divert online
traffic to plaintiffs online company, infiltrate and embezzle plaintiffs company
and plaintiffs company product line,and collect income derived from plaintiffs
company any company product lines.. SEE EXHIBITS -E15--- SEE DISCOVERY
D2 SEE DISPOSITION DS5 SEE ONLINE EVIDENCE

B Defefendants # 1,2,3,4,5,6,7,9,10,11,15,17 CEO'S and the unkown

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agents,employee's of the search engine enterprises
YAHOO,GOOGLE,FACEBOOK ,ASK,MICROSOFT,GODUCKGO,ADSENSE,BI
NG,AOL,DOGPILE defendants conspired with co defendants to create separate
search pages to conceal their acts so that plaintiff would not discover the other
identities in search for business online at www.gorgeousjeans.com In the
continued scheme to defraud ,and embezzle the business identity of plaintiffs
business GORGEOUS JEANS INTERNATIONAL TM .Defendants intentionally
and knowingly injected multiply cyber squatted and cloned business identity
and trademarks. of plaintiff business and business product lines for sell online
online in interstate and foreign commerce _ in furtherance of their scheme to
embezzle plaintiffs company identity brand trademark ,then to collect income
derived from a continued pattern of racketeering activity. SEE ONLINE
EVIDENCE EXHIBITS---------- SEE DISCOVERY------------------

C. Defendants intentional caused plaintiff damages in nation wide corective
advertising costs at $1million dollars a day at 365 days a year totaling $1.095
billion dollars + lost in profits and revenue as other brand companies at $20
million dollars a year at 3 years ,amounting to $60 million dollars - totaling $
2.550 billion dollars PLUS $15 MILLION DOLLARS IN UN
COLLECTED,UNAUTHORIZED LICENSING-ROYALTIES .SEE EXHIBITS----
SEE EXPERT WITNESS-SEE SUMMARY OF DAMAGES -SEE RELIEF
REQUESTED

2. upon information and belief and evidence ,and plaintiffs discovery in 2015
defendant #6 Marissa Mayer the ex ceo of search engine company yahoo
SEE EXHIBITS E16--- in as early as 2004 — and continuing cyber
stalked,stalked conspired,targeted, and participated in a pattern of multiply
racketeering acts inschemes_ to defraud,and embezzle plaintiffs business brand
identity,and trademark and product line brand identity . Defendant as ceo used
the computer servers at yahoo as a access device to infiltrate, misappropriate
plaintiffs company trade secrets, cause a false designation of origin and cause
plaintiffs company loss in traffic and revenue and profits and intentional
economic injury to business SEE EXHIBITS -E17_ SEE DISCOVERY----- .
Defendant #6 as ceo of yahoo knowingly and intentionally interfered with
commerce of plaintiffs interstate website ( 18 u.s.c.1951 ) injecting thousands to
millions of other companies in unfaif trade practices ,and false designation of
origin. Defendant #6 used yahoo's computer servers to intentionally divert
internet traffic and revenue of the online searches of plaintiffs online website
www.dorgeousieans.com , and then collect income and payments from the
activity and investing the income back into their business in a pattern of
racketeering activity. SEE EXHIBITS,SEE ONLINE EVIDENCE

A. Upon information and belief and evidence in 2015 defendant #6 left + ~
employment at yahoo in 2015 and was chairman of co-defendant #-3%CE of
walmart. SEE EXHIBIT E18-----( while plaintiff was drafting rico complaint)
Defendant #6_ in as early as 2015 continued the scheme to defraud plaintiff and
plaintiffs business cosmetic product line identity in which plaintiff sells cosmetics
and fragrances with TM trademark on everything as GORGEOUS JEANS
INTERNATIONAL TM-FLAMBOYANT COSMETICS- and sells cologne and

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fragrances as GORGEOUS JEANS INTERNATIONAL TM -FLAMBOYANT
FRAGRANCES .SEE PLAINTIFFS PRODUCT WEBSITE AT
www.insidelimosclothing.com and www.gorgeousjeans.com that plaintiff has
advertised online product lines for sale , since 1998 ,in which named defendants
misappropriated plaintiffs company information as accredited search engine
providers. The defendants # 6, 29 and # 32,36 are embezzling plaintiffs
cosmetic identity and manufacturing the cosmetic product brand in unfair trade
practices,and false designation of origin,obtained in economic espionage by the
named search engine defendants selling and solicting plaintiffs information. ..
Defendants #6,29,32,36 started manufacturing and_ selling the gorgeous
cosmetic line on line at walmarts,sephoria using the internet and mail delivery in
furtherance of their schemes SEE_ONLINE EVIDENCE ,SEE EXHIBIT -E19---
SEE DISCOVERY -D3---SEE DISPOSITION DS6-- Defendants # 6,29,32,36
than used co defendants # 1,2,3,7,8,9,10,11,12,13,14,15,17,22, computer
servers to place items in the co defendants separte created pages of plaintiffs
company product brand online in commerce SEE EVIDENCE ONLINE ,
EXHIBIT E20 knowingly to collect and receive income from a pattern of
racketeering activity and intentionally diverting revue and profits from plaintiffs
online company with named co defendants and collecting for themselves.

B Defendants intentionally caused plaintiff nation wide corective advertising
costs at $1 million dollars a day in corective advertising @ 365 days totaling
$1.095billion dollars ,+loss in profits and revenue as other name brands
amounting to $60 million totaling $2.550 billion dollars SEE EXHIBITS ,SEE
EXPERT WITNESSES---- SEE RELIEF REEQUESTED

C. Plaintiff also alledges Upon information and belief if not for the fact that other
name brand companies such as PLAYBOY, HUSTLER ,KENTUCKY FRIED
CHICKEN started and formed before the defendants SEE EXHIBITS --E21-------
the defendants would have preyed on their companies and used their computer
servers to cause a mass false designation of origin and .embezzle their
company identity and company product line identity. ,companies that they have
0 to do with,0 to do with naming,forming,or obtaining common law trademarks.
3. upon information and belief and evidence and plaintiffs discovery in 2015
and continuing in as early as 2004 and the last 10 calendar years defendant #
29 David Mcconell of austraila seen plaintiffs online nation wide advertisement
and stalked plaintiffs usa company from austraila. SEE EXHIBITS E22.
Defendant in as early as 1998 stalked ,cyber stalked, , plaintiff and plaintiffs
brand cosmetic product line identity knowingly and intentionally, knowingly
seeing plaintiffs nation wide website with TM as plaintiffs company,and
company product line that include cosmetics,fragrances trademark ,and
knowingly cyber sqatting the domain name of plaintiffs company cosmetic
brand identity ,and incorporating plaintiffs cosmectic product line identity ,then
registering in 2004 www.gorgeouscosmetics.comin in violation of the 1999
Anticybersquatting act SEE EXHIBIT -E23,E24-----. with fraudulent intentions of
defrauding and embezzling plaintiffs company brand identity,and cosmetic
product line brand identity.. Defendant intentionally violated the 1999
cybersquatting act in which the domain is invalid. Defendant knew that plaintiff

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was based in new york,and new jersey area and went out west to california SEE
EXHIBIT E25—SEE DISPOSITION DS7--- to avoid and conceal plaintiff
detection of defendants scheme to embezzle plaintiffs company identity and
cosmetic brand identity...defendant also went to several u.s states,all except
new york and conspired with co defendants walmart sephora and ex ceo of
yahoo defendant #6 to sell plaintiffs brand cosmetic identity in their stores,and
online stores using the internet and mail delivery in furthurance of their schemes
to defraud plaintiff and plaintiffs product line and collecting profits and revenue in
unfair competion,false designation of origin 43a1125, interference with interstate
and foreign commerce 18 usc ,economic espionage ,wire fraud,mail fraud,
schemes to defraud 18 usc1346 ,cyberstalking, trademark infridgement under
43a1125, extortion under the hobbs act , in violation of RICO 1962 (a)(b)(c)(d) .
SEE EXHIBITS—E26,E27,E28,E29- SEE ONLINE EVIDENCE--- --- . One or
more of the defendants and or co defendants conspired harm to plaintiff in a
scheme to defraud plalaintiff and plaintiffs company or companies and product
lines. The named defendants conspired and manufactured and sold plaintiffs
company brand cosmetic line in a scheme to collect income from a pattern of
racketeering activities. The defendants conspired with search engine co
defendants to cause a false designation of origin by using the search engines of
co defendants who created a separate search page. In which Defendant claim
to have started the brand gorgeous product line in in australia,in which
defendant did not SEE EXHIBITS E30 SEE DISCOVERY D6, SEE ONLINE
EVIDENCE Defendant actually came to the usa to embezzle plaintiffs
company brand identity and traveled back and forth to austrailia claiming
ownership of plaintiffs company brand cosmetic line and trademark brand
identity name. Interfering with interstate and foreign commerce SEE EXHIBITS
E31 SEE ONLINE EVIDENCE . B.
Defendant intentionally caused plaintiff damages in nation wide corrective
advertising costs at $1 million dollars a day @ 365 days from plaintiffs
2015-2018 discovery and continuing totaling $1.095 billion dollars+loss in profits
as other brand name companies @ $20 million dollars a year at 365 days at $60
million dollars all totaling $2.255 billion dollars ----- SEE RELIEF REQUESTED

4. Upon information and belief,and evidence defendant in as early as 20012
and continuing and upon discovery in 2015 and in 10 calendar years
defendant # 34 participated in schemes to defraud plaintiff and plaintiffs
company brand identity and identity product line . Defendant Helen Gibson
started a hair salon at unknown date ,for which a investigation by plaintiff of start
up dates online appear to be falsified,altered,and tampered with and not of the
actual start dates, registration dates including the domain registration date
appearing on go daddy as being 1997 in which go da daddy was not even a
domain registra,for which network solutions was the only registra at the time,and
posts by others calling the company a scam company. SEE EXHIBIT
E32,E33,E34E35,E36 SEE DISCOVERYD7 SEE DISPOSITION 8.AND 9 Dates
on the wayback websites with hello gorgeous were also altered to appear that
defendant sold cosmetic line which was obvious at glance to be altered SEE
EXHIBIT E37 DISCOVERY D8.Defendant intentionally tried to conceal that

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defendant never sold any gorgeous products before plaintiffs 1997 company or
even possible registered the domain as recorded online with go daddy.com
before plaintiffs registered 1998 domain www.gorgeousieans.com with
networksolutions. com in which defendant conspired with search engine
defendants in a scheme to defraud and embezzle the product line identity from
the plaintiff

A.- upon knowledge ,information,and evidence defendant Hellen Gibson of hair
salon Enterprise hello gorgeous have 0 prior use ever of a gorgeous product
line before plaintiff formed the 1997 company brand name and matching brand
name full product line SEE DISCOVERY D9 SEE DISPOSITION DS10.
Defendant Helen Gibson sold full or part ownership to possible co- defendants
and associates possible law enforcement agents or ex law enforcement agents .
SEE DISCOVERY D10 SEE DISPOSITION DS11in which plaintiff has received
stalking like incidents and bias treatment from law enforcement giving plaintiff
probable cause they are the perpatrators of schemes to embezzle plaintiffs
companiy GORGEOUS JEANS INTERNATIONAL TM_ identity. One or more of
th defendants and or co-defendants conspired harm to plaintiff in furtherance of
scheme to defrud plaintiff and plaintiffs company and or companies and product
lines. The defendants enterprise Hello Gorgeous franchised salon claims to be
non profit SEE EXHIBITS -E38---SEE DISCOVERYD11_ SEE ONLINE
EVIDENCE Defendant Helen Gibson in 2012 cyberstalked plaintiffs company
and website knowingly of plaintiffs plans to take company and conspired with
search engine defendants to cause a false designation of origin of plaintiffs
brand identity and product line identity,creating in 2012 domain name
shophellogorgeous .com, intentional and knowingly inserting their online
business in co defendants # 1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17,25,26
computer servers websites in search of plaintiffs online website SEE EXHIBIT
E39-SEE ONLINE EVIDENCE--- and then manufacturing and selling in
commerce infridging,cloned,as of products of plaintiffs company Trademark
apparel ,cosmetics,accesories brand product line identity intentionally incommon
law trademark infridgement under 43a1125, unfair trade practices,and false
designation of origin under 43a1125,racketeering under 18usc

1954, embezzlement 18usc ,cyberstaling 2261a-b,and extortion under the hobbs
sct in violation of RICO 1962 (A)(B)(C)(d),. SEE EXHIBITS E40 SEE ONLINE
EVIDENCE .

B.Plaintiff did not know of the hair salon existed until a news report about
person being called vinny gorgeous owning a franchised hello gorgeous salon
and went to jail in 2013 SEE EXHIBITS-E42--------

C. plaintiff also alledges that defendants Helen Gibson, in as early as 2015 and
continuing cyber stalking plaintiffs company in which Plaintiff was also
advertising 2015-2018 plans for a casino hotel coming soon upstate ny ? SEE
EXHIBITS E44 in which defendants than registered at the trademark office a
similar mark to opening a similar venue SEE EXHIBIT ---E45------- ina
continued scheme to cause a false designation of origin in which was done
after seeing plaintiffs 2015-2018 website SEE DISPOSITION DS-12,in which
their acts are about the plaintiff taking company public SEE DISPOSITION

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DS13 in which is the motive defendants are trying to embezzle plaintiffs
intellectual property rights and product line that is essential to taking public and
stockholders investing . .Defendants hello gorgeous salon has no bases for huge
profits to take their company public. Investors would not invest in a hair salon in
which does not create enough revenue, they have never advertised to take
company public ,ever. Defendants are trying to cause a false designation , to
embezzle plaintiffs product line in a scheme to defraud plaint and plaintiffs
company in which plaintiff alledges they are trying to take over for themselves
to go public using plaintiffs business identity and product line.

D Defendant intentionally caused plaintiff damagesin nation wide advertising
costs at $1million dollars a day @365days a year since 2015- 2018 discovery
and continuing amounting to $1.095 billion dollars +loss in profits $20 million
dollars a year since 2015-2018 discovery and continuing $60 million dollars
totaling $2.550 billion dollars in damages

5.Upon information and belief named defendants #

28, 35,36,37,38,41,42,43,44,46,47,49,50,51,52,53,- are competitors of plaintiffs
with their own brand name company,in which they cyberstalked plaintiffs online
company and participated with co defendants #
1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17, 22 25,26 in as early as 2002 and
continuing schemes to defraud plaintiffs company,interfere with commerce and
revenue to plaintiffs company GORGEOUS JEANS INTERNATIONAL
TM,manufacturing cosmetic and fragrance using the 1997 unique trademark
gorgeous of plaintiffs trademark on cosmetics and fragrances , on their products,
and then collecting and receiving online payments from the as of products of
plaintiffs ,in trademark infridgement under 43a1125 ,false designation under
43a1125,unfair competition under 43a1125, cyberstalking - cyber

bullying ,2261a-b,wire fraud 18usc 1343,mail fraud 1341,scheme to defraud
1346 racketeering 1954,extortion under the hobbs act 18usc , interference with
interstate and foreign commerce 18 usc ,in violation of RICO 1962 (a)(b)(c)(d)
SEE ONLINE EVIDENCE , SEE EXHIBITS E46,47,48,49,50

6..Upon information ,belief and evidence and upon plaintiffs discovery in
2015-2018 in as early as 2004 and continuing named domain registra
defendants # 76- #95 seen plaintiffs 1998 nationwide online advertisement to
go public ,cyber stalked, and intentionally cybersquatted multiply domain names
of plaintiffs company and or companies in violation of trademark laws 43a1125
a, the 1999 anti cyber sqatting act knowingly and intentionally the names were
of plaintiffs company identity,and product line brand name identitys and
trademarksSEE EXHIBIT E51 SEE DISPOSITION DS-14 SEE ONLINE
EVIDENCE . Plaintiff used a TM in every nation-wide online ad 24/7,and on
every product item. The defendants —used their business as a criminal
enterprise and used their computer servers as a access device to infiltrate
plaintiffs company and intentionally register the multiple similar domains of
plaintiffs to themselves and co defendants, participating in and creating formed
shell companies of plaintiffs companies brand identity ,and product brand identity
SEE EXHIBIT E52 SEE DISPOSITION DS-15 in multiply schemes to

defraud ,and embezzle plaintiffs company and plaintiffs product line . One or

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more of the above named domain defendants or and co defendants conspired
harm to plaintiff in furtherance of the schemes to defraud plaintiff .The above
domain registra defendants participated in and conspired with search engine
defendants to place the domain names of plaintiffs product line in co-defendants
# 1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17,22,25,26 computer servers. to
conceal from plaintiff from discovering the scheme. SEE EXHIBITS -E53,SEE
ONLINE EVIDENCE ---- The defendants used their computer servers as a
access device to infiltrate plaintiffs company brand identity,and collected
payments in the scheme to defraud plaintiffs company causing false
designation of origin under 43a1125of plaintiffs company and brand product
line, unfair competition under 43a1125,trademark infridgement under 43a1125,
wire fraud 18usc 1343, mail fraud 18usc 1341,scheme to defraud

1346, interferance with interstate and foreign commerce under 18

usc ,racketeering under 18usc, extortion under the hobbs act undr 18usc in
violation of RICO 1962 (a)(b)(c)(d)

A. The defendants intentional caused damages in corrective advertising costs at
$ 1 million dollars a day at 365 days since discovery 2015 amounting to $1.095
billion dollars + loss profits at $20 million dollars a year since discovery
2015-2018 amounting to $60 million dollars totaling $2.550 illion dollars---SEE
RELIEF REQUESTED

B Plaintiff did not discover the multiply schemes to embezzle company identity
and company product line identity until 2015 after seeing www. shop hello
gorgeous.com in the search page of plaintiffs website when plaintiff was
checking for any sales of product line SEE EXHIBITS--E54-Plaintiff discovered
that multiply named defendants had organized as early as 2002 to embezzle
and defraud plaintiff and plaintiffs company in which plaintiff was receiving
unusual police contact like stalking incidents.

7. While plaintiff was marketing and designing the GORGEOUS JEANS
INTERNATIONAL TM -ice cream t-shirt product line in 2013 SEE EXHIBITS
E55.plaintiff also formed a spin off company brand INSIDE LIMOS CLOTHING
TM in 2013 SEE EXHIBITS E56-- a spin off of plaintiffs GORGEOUS JEANS
INTERNATIONAL TM product line magazine title INSIDE LIMOS featuring the
limousine industry ,that plaintiff kept the title and main feature a guarded trade
secret until 2013 publication,in which plaintiff did not put any information on the
computer,which is why the named defendants have not put #magazine
featuring limousines as their own ,before 2013,in which they would have done
just that.Plaintiff was homeless ,2006-2009, then 2011-2013 due to stalking like
incidentsregaring company GORGEOUS JEANS INTERNATIONAL TM. .. SEE
EXHIBITS -56A--. Plaintiff formed and designed a full product line of street
clothes, jewelry,footwear,beverages-that include beer and

liquor, fragrances ,cosmetics.,to make huge profits as. other brands SEE
EXHIBITS -E57-with plans to generate millions to billions and possible trillions of
dollars in profit in which all of plaintiffs suppliers and associates thought the
name brand was very marketable ,unique as a possible a top brand that could
generate millions to billions of dollars in a year as other brands SEE EXHIBIT
E58 Plaintiff also formed around the same time another brand name company

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HERE -DEAR in 2013 SEE EXHIBITS E59 designing a full product line of street
clothes,beverages and liquor,food products SEE EXHIBITS E60-----. Plaintiff
alledges that the name brand company was not in use or infridging on any ones
brand or product line or in the search engine defendants computer server
searches. SEE EXHIBITS E61 ,SEE DISCOVERY D14,SEE DISPOSITIONS D-
S$17-,and there was o products in the online search of any similar company
brand name or product brand line name, in which plaintiff was trying to get
online sales,not knowing that named defendants where cyber stalking plaintiff
and plaintiffs company.. SEE DISCOVERY D 15 SEE DISPOSITION
DS18

A. In a new cause of action ,upon information and belief and evidence ,and
plaintiff discovery in 2015,in as early as 2013 that search engine defendants
had continued cyber stalking plaintiff and cyber stalked plaintiffs 2n¢ brand
company identity and company brand product line INSIDE LIMOS CLOTHING
TM ina continued pattern,and scheme to defraud plaintiffs brands identity.
Defendants used their business as a criminal enterprise and computer servers
as a access device to again interfere with commerce to plaintiffs online website.
Named defendants in similar pattern as plaintiffs other company GORGEOUS
JEANS INTERNATIONAL TM had removed plaintiffs 2016 online website
www.insidelimosclothing.com from the search of online company ,and ina
continued pattern solicited and injected thousands to millions of other companies
in the search of plaintiffs online website SEE EXHIBIT E62 —- SEE DISCOVERY
D16 SEE DISPOSTION DS19--- to divert traffic away from plaintiffs online
company and collect and receive income derived from a pattern of racketeering.
Plaintiff also alledges upon information and evidence that defendants would
place plaintiffs website back in their computer servers when they think plaintiff
was watching,and then remove from their computer servers when they thought
plaintiff was not such as major inter ruptions in plaintiffs life,such as becoming
homeless because of related stalking incidence to residence and having plaintiff
evicted. Plaintiff also alledges one or more of defendants conspired harm to
plaintiff in a scheme to defraud plaintiff and plaintiffs company or companies

B. Defendants # 1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17, in the continued
pattern to defraud plaintiff, solicted, and sold,and misappropriated plaintiffs
trade secrets to named co defendants and others.Defendants used their
business as a criminal enterprise and computer servers as a access device to
again create separate search pages of plaintiffs product line identity INSIDE
LIMOS CLOTHING TM ,and _ product line of t-shirt
apparel,streetclothes, watches, liquor, beverages, footwear,cosmetics, fragrances,s
wimwear, diverting traffic and revenue and profits to plaintiffs online company in
a continuing pattern to embezzle,defraud plaintiffs companies and product
lines. The defendants The defendants than inject the co defendants
cybersquatted domains and embezzled cloned,similar,as of products and
identities of plaintiffs company INSIDE LIMOS CLOTHING TM product line in
their created separte search pages of plaintiffs product lines using the internet
and mail receiving to collect income derived from a pattern of racketeering
activity in unfair trade practices under 43a1125,false designation under

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43a1125,tradmark infridgement under 43a1125,computer fraud under 18usc
1029,1030, wire fraud 1343,mail fraud 1341,scheme to defraud

1346 cyberstalking2261a-b,interference with commerce 18 usc embezzlement
18usc , racketeering 18usc extortion under the hobbs act 18 usc, in violation of
RICO 1962 (a)(b)(c)(d) SEE EXHIBIT E64 SEE DISCOVERY D18 SEE
DISPOSITION DS20, SEE ONLINE EVIDENCE

8. In a new cause of action defendants #
1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17 continued in cyber stalking of
plaintiffs companies and trade secrets ,defendants stole , solicted,
misappropriated,sold and used plaintiffs brand name and apparel trade secrets
to product lines. One or more of the defendants conspired harm to plaintiff in a
scheme to defraud plaintiff and plaintiffs companiesand product lines..SEE
EXHIBITS E65,SEE DISCOVERY D19, SEE DISPOSITIONS DS21 SEE
ONLINE EVIDENCE------ Defendants then organized , and ,conspired with co
defendants # 50, #51 CEO of disney and pixar to participate ,and
intentionally name a computer movie INSIDE -OUT as of /similar to plaintiffs
company brand identity in a scheme to defraud plaintiffs company brand and
brand product lines. SEE EXHIBIT 66.The defendants are all associates and
investors of each other. SEE EXHIBIT E67 ,SEE DISCOVERY D22 SEE
DISPOSITON DS22. .Defendants # 50,51 started manufacturing and selling a
apparel line of sublimation clothing similar as plaintiffs sublimation apparel on co
defendants # 3,8,13,14, computer servers and website . SEE EXHIBITS
E68,SEE DISPOSITION DS22 —Defendants used the movie theaters, internet
and mail receiving services to collect income and revenue derived from the a
pattern of racketeering activity, in false designation of origin under
43a1125,trademarkinfridgement under 43a1125 ,cyberstalking 2261a-b,

unfair trade practices under 43a1125,economical espionage under ,wire fraud
18usc1343, mail fraud 18usc1341,scheme to defraud 18usc 1346, racketeering
under 18usc ,extortion under the hobbs act 18usc, in violation of RICO 1962 (a)
(b)(c)(d). SEE EXHIBITSE-69- SEE ONLINE EVIDENCE

A. The defendants 2015 movie INSIDE OUT title has no bases as a title and
was obtained by defendants in economic espionage, in a pattern of racketeering
activity to embezzle ,.clone disrupt and sell the brands of plaintiffs company
INSIDE LIMOS CLOTHING TM.SEE EXHIBITS E70. Defendants and co
defendants cyber stalked plaintiff,and plaintiffs company and stole plaintiffs
trade secrets and used them to clone plaintiffs INSIDE LIMOS brand. Plaintiff
designed the formation of INSIDE LIMOS CLOTHING TM asa flashy name
brand apparel in which disney or pixar have never formed any flashy clothing
brand ever. SEE EXHIBITS.E71----- .SEE DISCOVERY D23 Defendants used
their business as a criminal enterprise ,and computers as a access device to
clone the company brand identity from plaintiffs brand and used their
computers to create a title movie based on plaintiffs 2013 company brand
identity. Defendants collected in income derived from a pattern of racketeering.
B. Defendants intentionally caused plaintiff damages in nation wide corrective
advertising costs at $ 1 million dollars a day at 35 days since 2015-2018
discovery and continuing amounting to $1.095 billion dollars + loss in profits as

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other brand companies since discovery 2015-2018 at $20 million dollars a year
at 365 days amounting to $60 million dollars totaling $2.550 billion dollars SEE
EXHIBITS .SEE EXPERT WITNESS.SEE RELIEF REQUESTED

9. Upon information,belief and evidence defendants # 30 Kim Kardashian west
and #31 Kyle Kardashian knowingly tried to cause a false designation of
plaintiffs cosmetic brand,by knowingly publicly marketing the
infridging,cloned,similar,as of cosmetic line of Austrailan defendant who later
placed online. Defendant #29 had cybersquatted plaintiffs product line,and tried
to embezzle,cause a false designation of origin of Plaintiffs Brand and Brand
cosmetic line GORGEOUS JEANS INTERNATIONAL TN -FLAMBOYANT
COSMETICS-FLAMBOYANT FRAGRANCES.-,and in which one or more co-
defendants conspired harm to plaintiff in a scheme to defraud plaintiff and
plaintiffs 1997 company GORGEOUS JEANS INTERNATIONAL TM. The
defendants #30.#31 then , later launched their own cosmetic line.Plaintiff had
advertised to take full brand product line GORGEOUS JEANS
INTERNATIONAL TM public since 1998.Defendants motive was to harm
competion in unfair trade practices43a1125,false designation 43a1125, wire
fraud 1343,scherne to defraud 1346,extortion under the hobbs act in violation of
RICO 1962 (c)(d)

10. Upon information defendant #33 KANYE WEST conspired with co-
defendants # 57,58,59 and and unknown , who cyberstalked plaintiffs company
and created a infridging,cloned,similar,as of brand name of plaintiffs brand and
apparel brand tshirt line and accessories formed by plaintiff .Defendants placed
defendants signature jesus brand on multiply t-shirts implying that defendant is
the owner, investor,associate of the cloned ,infridging brand of plaintiffs
brand.Defendants then placed for sale products on co defendants #
websites,and computer servers.One or more of the co- defendants conspired
harm to plaintiff in violation of the hobbs act, in unfair competition 43a1125, false
designation of origin , misappropriatition of trade secrets ,cyberstalking-cyber-
bullying 2261a-b, scheme to defraud 18usc1346,wire fraud 18usc1343,mail
fraud 18usc1341 trade mark infridgement,racketeering 18usc in violation of
RICO 1962 (a)(b)(c)(d)

11. Upon information and belief and evidence defendants #

8,13,14,22,25,2€ 28,32,43,44,45,46,47,48,58,59,60,61 used their websites to
sell, manufacturer products of plaintifs brand companies identity. Defendants
placed manufactured products as of ,infridged,similar,incorporating plaintiffs
company brand :dentity in co- defendants created separate pages on their
computer servers,and search engine defendants to collect income derived from
a pattern of cyberstalking,cyberbullying, racketeering activity in unfair trade
practices 43a1125 false designation of origin 43a1125 ,trademark infridgement
43a1125,2261a-b,wire fraud 18 usc 1343,mail fraud 1341,scheme to defraud
1346, trafficing in counterfeit goods ,economic espionage, racketering
18usc,extortion under the hobbs act in violation of RICO 1962(a)(b)(c)(d).SEE
EXHIBITS -E72------- SEE DISCOVERY-D24---DISPOSITION DS24----

12. Upon information ,belief and evidence ,defendant # 55,56 JEFF PIGOZZI
and KD WAVE CEO cyberstalked plaintiff and plaintiffs online company INSIDE

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LIMOS CLOTHING TM in as early as 2013 and continuing and schemed to
defraud plaintiffs brand forming a similar name brand apparel line,and falsifying
start up dates,and name , to intimidate plaintiff and plaintiffs company,and then
posted for sell limoland apparel on co defendants #3 computer servers webite
enterprise facebook in 2016. The named defendants are associates of the
named co -defendants and one or more of the defendants conspired harm to
plaintiff in a scheme to defraud plaintiff and plaintiffs companies and companies
product lines. in unfair trade practices 43a1125,false designation of origin
43a1125,trademark infridgement 43a1125,trafficing in counterfeit
goods18usc,wire fraud 18 usc 1343, mail fraud 1341,scheme to defraud 18 usc
1346,racketering 18usc,extortion under the hobbs act ,in violation of RICO 1962
(a)()(c)(d) SEE EXHIBITS, SEE DISCOVER,SEE DISPOSITION SEE
ONLINE EVIDENCE 13.Upon
information and belief ,evidence defendants # 57 LIMOS AND LIQUOR LLC
cyberstalked plaintiff and plaintiffs company and t-shirt apparel line. Defendants
schemed to defraud plaintiff and plaintiffs 2013 company INSIDE LIMOS
CLOTHING TM manufacturing as of/similar/cloned/incorporating plaintiffs t-shirt
apparel line ,and selling incommerce and online on co defendants websites and
leaving no contact info as to who the real person is.Defendants appear to be in
contact with co defendant#3,44,48,59. the defendants are

cloning, infridging ,incorporating plaintiffs brand in infair trade practices
43a1125,trade mark infridgement 43a1125,false designationa of origin
43a1125, scheme to defraud 18usc1346,wire fraud 18usc1343,mail fraud
18usc1341 trafficing in counterfeit goods 18usc ,extortion under the hobbs
act,racketeering in violation of RICO 1962 (a)(b)(c)(d)

14.Upon information and belief defendants # 52,53,54 CEO of VOSTEC
WATCHES AND LG ENTERPRISES.Defendants schemed to defraud plaintiffs
watch accessories brand ,creating and manufacturing infridged/as
of/cloned/incorporating plaintiffs company brand and watch product brand

line. The named defendants intentionally misappropriated plaintiffs watch brand
and obtained the information of plaintiffs company from one or more of co
defendants in economical espionage. It is 0 coincidence that the defendants
and plaintiff came up with the same similar logo watch name brand identity at
the same time .Defendants are manufacturing and selling watches of plaintiffs
watch brand in unfair trade practices 43a1125,false designation of origin
43a1125,trademark infridgement 43a 1125,trafficing in counterfeit goods
18usc,economic espionage 18usc ,racketeering 18usc ,extortion under the
hobbs act in violation of RICO 1962(a)(b)(c)(d)

A. Defendants intentionally caused plaintiff damages in nation wide corrective
advertising costs at $1million dollars a day @365 days since discovery
2015-2018 amounting to $1.095 billion dollars+ a loss in profits as other
companies at $20 million dollars a year amounting to $80 million dollars a year
totaling $1.175 billion dollars. -SEE RELIEF REQUESTED

15-16. In a new cause of action Upon information and belief and evidence
defendants # 8,13,14,amazon,and ebay and 3r¢ party associates -- cyber
stalked and conspired to embezzle plaintiffs company brand identity in a

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continued scheme to defraud and embezzle plaintiffs company INSIDE LIMOS
CLOTHING TM. The defendants are associates and investors of the co-
defendants and one or more conspired harm to plaintiff. Defendants #8,13,14
used their business as a criminal enterprise and their computer servers as a
access device to placed for sell the brand identity of plaintiffs t-shirt product line
brand identity,and watches line brand identity on their computer servers using
the internet and mail receiving services in a pattern and in furtherance of their
scheme to to embezzle, defraud , cause a false designation of origin of plaintiffs
company brand identity and cause a loss in revnue and profits to plaintiffs
appare line SEE EXHIBITS E73,74,SEE DISCOVERY D25,SEE DISPOSITION
DS25 Defendants posted $20 t-shirts of plaintiffs t-shirt apparel line
identity,reducing the price of plaintiffs apparel t-shirt line. Plaintiffs t-shirt apparel
line is a luxury brand line that plaintiff priced sells at$75 per t-shirts. SEE
EXHIBITS E75,76,SEE DISCOVERY D26,-Defendants have never
sold,market,any limo,or limousine t-shirts until plaintiff formed company in 2013 .
SEE EXHIBITS E 77,78 SEE DISCOVERYD27 SEE ONLINE EVIDENCE ------
defendants used their business as a criminal enterprise and computer servers
as a access device to sell counterfeit apparel of plaintiffs brand and collect
income derived from the pattern of cyberstalking, misappropriation of plaintiffs
trade secretsand trade dress racketeering from plaintiff and plaintiffs company, in
unfair trade practices43a1125,false designation of origin 43a1125,trademark
infridgement 43a1125,computer fraud 18 usc 1030-1029, wire fraud 18usc

1343 mail fraud 18usc 1341,interferance with interstate and foreign commerce
18usc,economic espionage 18usc ,extortion under the hobbs act, racketeering
18usc ,embezzlement 18usc in violation of RICO 1962 (a)(b)(c)(d)

A. Defendants intentionally caused plaintiff damages in nation wide advertising
costs at $1 Million dollars aday since discovery 2015-2018 at 365 days
amounting to $1.095 billion dollars+ loss in profits as other companies at$ 20
million dollars a year amounting $60 million dollars totaling $2.500 billion
dollars. PLUS UNCOLLECTED ROYALATIES OF $ 15 MILLION DOLLARS

17. In a new cause of action upon information and belief and evidence named
defendants # 65,66,67 worked in the commerce dept and under color of law
participated in racketeering schemes to defraud and embezzle plaintiffs
companies,and product lines. Defendants knowingly registered multiply
trademarks of plaintiffs companies and plaintiffs product line GORGEOUS
JEANS INTERNATIONAL TM,INSIDE LIMOS CLOTHING TM,HERE-DEAR
INTERNATIONAL TM ,FRANKIE SALLY to co defendants. SEE EXHIBITS -
E79, E80 SEE DISCOVERY D28, SEE DISPOSITION DS26 SEE ONLINE
EVIDENCE

A. Defendants while employed at the U.S. Depatment of commerce targeted
plaintiffs companies,solicited out plaintiffs trademarks that plaintiff

named, formed,and started , that could generate plaintiff millions to billions of
dollars in revenue . Defendants handed plaintiffs trademarks out as if they
where, to foreign residents,and codefendants as their own personal
usage,without plaintiffs knowledge ,and conduct of bribery in exchange.. Plaintiff
has kept nationwide ads online and a internet check would have revealed that

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plaintiff formed the companies,and trade marks belonged to plaintiff. Defendants
used their computers, internet,and emails as a access device, to collect and
receive income derived from the pattern of racketeering activity,in unfair trade
practices 43a1125,in unfair competition 43a1125,false designation of origin
43a1125 economic espionafe,fraud 18usc1064,cyberstalking 2261a-b,wire fraud
18 usc 1343,mail fraud 18usc 1341,computer fraud 18 usc 1029-1039, extortion
under the hobbs act 18usc in violation of RICO 1962 (a)(b)(c)(d)

B.Defendants intentionally caused plaintiff damages in corrective advertising
costs at $1 million dollars a day at 365 days since discovery in 2018 amounting
to $365 million dollars +loss in profits as other brand companies at $20 million
dollars a year totaling $385 million dollars

18. Upon information and belief,and evidence named defendant #3 Mark
Zuckerberg Ceo of facebook targeted stalked ,cyber stalked plaintiff and plaintiffs
company GORGEOUS JEANS INTERNATIONAL TM,in as eary as 2010 SEE
EXHIBIT E81 SEE DISPOSITION DS27 in ascheme to embezzle and defraud
plaintiffs company brand identity .- Defendant #3 did use the business as a
criminal enterprise and computer servers as a access device to

solicit, misappropriate the tradesecrets of plaintiffs company.Defendant inject
multiply companies of co defendants cybersquatted

domains, infidging ,cloned,similar,as of companies of plaintiffs into facebooks
computer servers in a scheme to cause a false designation of plaintiffs
company brand identity and product line. Defendants manufactered and used
the internet and mail receing to sell products of as of similar,cloned of plaintiffs
in defendants business and computer servers and to cllect income derived in a
pattern of racketeering activity to defraud plaintiffs company GORGEOUS
JEANS INTERNATIONAL TM in unfair trade practices
43a1125,trademarkinfridgement 43a1125,false designation of origin
43a1125,cyberstalking 2261a-b,computer fraud 1030-1029,wire fraud 18usc
1343 mail fraud 1341,scheme to defraud 1346,economic espionage 18usc , in
violation of RICO 1962 (a)(b)(c)(d) .SEE EXHIBITS E82, SEE DISCOVERY
D29,SEE DISPOSTION DS28 ,SEE ONLINE EVIDENCE

A. Defendant intentinally caused plaintiff damages in nation wide corrective
adverting costs at $1 million dollars per day at 365days a year since discovery
2015 totaling $1.95 billion dollars + loss in profits as other company brands at
$20 millillion dollars a year totaling $2.550 billion dollars, PLUS UNPAID
ROYALATIES AT $15 MILLION DOLLARS

B .In a second cause of action against defendants FACEBOOK continued to
target,cyber stalk plaintiffs companies and product lines with co-defendants .
Defendant FACEBOOK and co defendants used their business as a criminal
enterprise and computer servers as a access device to infiltrate and embezzle
the company brand identity of plaintiffs 2ndcompany INSIDE LIMOS CLOTHING
TM SEE EXHIBIT &84,SEE DISCOVERY D31,SEE DISPOSITION DS29 SEE
ONLINE EVIDENCE ---. Defendant # 3 used the computer servers of business
FACEBOOK to inject multiply companies of co defendants knowingly of
plaintiffs company brand identity INSIDE LIMOS CLOTHING TMand product line
identity to intentionally cause a false designation of origin in a pattern of similar

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racketeering avtivity to divert traffic and revenue from plaintiff and plaintiffs
companies.Defendant # 3 is a associate and investor of co- defendants in
which one or more of the co-defendants conspired harm to plaintiff in a scheme
to defraud plaintiff and pplaintiffs companies. Dendants co-defendants
manufactured and sold product lines of plaintiffs brand identity on FACEBOOK
using the internet,and email services to collect and receive income derived from
a pattern of racketeering activity ,in the misppropriation of plaintiffs trade
secrets ,trade mark infridgement 43a1125,false designation of origin
43a1125,unfair competition 43a1125,racketeering 18usc,economic espionage
18usc,extortion under the hobbs act in violation of RICO 1962 (a)(b)(c)(d)

4. Defendants intentionally caused plaintiff damages in nation wide advertising
costs at $1 million dollars a day at 35 days totaling $1.095 billion dollars + loss in
profits as other brand companies at $20 million dollars a year totaling $2.055
billion dollars

C.In a third cause of action against defendants FACEBOOK ,defendant # 3 in
a similar continued pattern used their business as a criminal enterprise and
computer servers @8 a access device to cause a false designation of origin of
plaintiffs 3r4 company brand company HEARE -DEAR INTERNATIONAL
TM.SEE EXHIBITS 85 . SEE DISCOVERY-D32, SEE DISPOSITION DS30 SEE
ONLINE EVIDENCE----Defendant # 3 used business as a criminal enterprise
and computer servers to inject multiply companies as

of ,similar ,infridging,cloned of plaintiffs company brand identity. HERE -DEAR
INTERNATIONAL TM. Co defendants manufactured and sold products as

of ,infridging,cloned , of plaintiffs product line identity on FACEBOOK using the
internet and email service to collect and receive income derived from a pattern
of racketeering activity in unfair competition ,43a1125,trademark
infridgement43a1125,false designation of origin 43a1125,sheme to defraud
18usc1346,wire fraud 18usc1343,mail fraud 1341,computer fraud 18 usc
1030-1029 economic espionage 18usc,racketeering 18usc,cyberstalking-
cyberbulling 2261a-b, interference with interstate and foreign commerce,extortion
under the hobbs act in violation of RICO 1962 (a)(b)(c)(d)

4. Defendants intentionally caused plaintiff damages in nation wide corrective
advertising costs at $1 million dollars a day at 365 days totaling $1.095 billion
dollars +loss in profits as other brand companies at $20 million dollars a year at
$60 million dollars totaling $2.550 billion dollars

D. In acontinuzd cause of action defendant #3 continued to plaintiffs 4t"
company FRANKIE SALLY INTERNATIONAL TM using their business as a
criminal entrprise and computer servers as a access device to inject multiply
similar,cloned,as of names of plaintiffs business identity and business product
line identity. SEE EXHIBITS E86,SEE DISCOVERY D33 SEE DISPOSITION
DS -31 Defendant #3 and co defendants knowingly and intentionally
manufactured products of plaintiffs brand identity in a scheme to cause a false
designation of origin of plaintiffs company brand identity ,and product line
identity. Defendant used the internet and mail receiving services to collect
income derived from a pattern of racketeering activity.and misapproprite trade
secrets of plaintiffs company and companies product lines in unfair

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competition43a1125, trademark infridgement 43a1125,false designation of origin
43a1125,computer fraud 18 usc 1029-1030,wire fraud 18usc 1342 mail
fraud1341,cyberstalking-cyberbullying 2261a-b,economic espionage
18usc,racketeering 18usc 1954,extortion under the hobbs act in violation of
RICO. 1962 (a)(b)(c)(d)

1. Defendant intentionally caused plaintiff damages in nation wide corrective
advertising costs at $1million dollars a day at 365 days since discovery
amounting to $1.095 billion dollars +loss in profits as other brand companies @
$20 million dollars a year since 2015-2018 amounting $60 million dollars totaling
$2.500 billion dollars

19.. Upon information and belief and evidence named defendants # 79
networksolutions domain registras cyber stalked,and conspired to defraud and
cause a false designation of plaintiffs companies ,GORGEOUS JEANS
INTERNATIONAL TM,INSIDE LIMOS CLOTHING TM,FRANKIES SALLY
INTERNATIONAL TM,. Defendants used their business as a criminal enterprise
and computer servers as access device to intentionally register multiply
domain names of plaintiffs company identity and company brand identity
product line identity to themselves and co defendants knowingly that they
where the trademarks and business identity of plaintiffs . SEE EXHIBITS E87
SEE DISCOVERY D34,SEE DISPOSITION DS32 .Defendant #79 and co-
defendant chase bank in 2017 used their computer, internet, and computer
servers as a access device to block plaintiff from paying fees on domain names
of plaintiffs business product brand name INSIDE LIMOS and plaintiffs aka
name FRANKIE SALLY that plaintiff formed and registered in 2016
www.insidelimosclothing.com and www.frankiesally.com .defendants
intentionally blocked payment and then registered the names to themselves and
then sold them to co defendants in a continued scam to defraud plaintiff and
plaintiffs business identity and business identity product line. SEE EXHIBITS
E88,89-SEE DISCOVERYD35--Defendants used the internet and emails to
collect income derived from a pattern of racketeering activity in unfair
competition 43a1125,computer fraud 18 usc 1029,wire fraud 18 usc 1343,mail
fraud 18 usc 1341, cyberstalking-cyberbullying 2261a-b,economic espionage
18usc , extortion under the hobbs act in violation of RICO 1962 (a)(b)(c)(d)

1.A Defendants intentionally caused plaintiff nation wide corrective advertising
damages at $1million dollars a day at 365 days amounting to since 2015-2018
$1.095 billion dollarstloss in income and profits as other brand companies $20
million dollars a year ,amounting to $60million dollars totaling $2.550 billion
dollars

20.Upon information and belief and evidence defendants # 49 yellow book cyber
stalked -cyberbullied plaintiff and plaintiffs company GORGEOUS JEANS
INTERNATIONAL TM and participated and conspired with co defendants who
are associates and investors , to use their business as a criminal enterprise to
intentionally post slandering and defamation posts of plaintiff and plaintiffs
company GORGEOUS JEANS INTERNATIONAL TM _ on co defendants
computer servers of named defendants #
1,2,3,4,5,6,7,8,9,10,11,12,13,14,15,16,17, of plaintiff being muslim and sold

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muslim products in the online searchs of plaintiffs online company knowingly to
be false SEE EXHIBIT E90--SEE DISCOVERY D36,SEE DISPOSITION
DS33-----.Defendants used the internet to intimidate consumers into not going
on plaintiffs online website in a continued scheme to interfere with commerce
affecting interstate and foreign commerce in unfair competion
43a1125,cyberstalking-cyber bullying 2261a-b,wire fraud 18usc 1343,hate crime
18usc ,extortion under the hobbs act 18usc ,in violation of RICO (c)(d)

A. Defendants intentionally caused plaintiff damages in nation wide corrective
advertising costs at $1 million dollars a day at 35 days totaling $1.095 billion
dollars +loss in profits as other brand name companies.

21.upon information and belief and evidence named defendants #

18,19,20,21,23 24,27 29, 39,40,55,56,57,64,stalked,cyberstalked,cybersquatted
on plaintiffs company brand identity and company brand product line identity.
One or more of the defendant ,co- defendants conspired harm to plaintiff in a
scheme to defraud plaintiff and plaintiffs compmpanies. Defendants registered
the domain names as of ,cloned,similar,infridging, incorporating plaintiffs
company and or companies trade mark brand identity in violation of the
anticybersquatting act. The defendants formed shell companies with investor
funds and manutactured products of one or more of plaintiffs company brand
identities and business identity product line identies GORGEOUS JEANS
INTERNATIONAL TM,INSIDE LIMOS CLOTHING TM,HERE-DEAR
INTERNATIONAL TM,FRANKIE SALLY INTERNATIONAL TM, posted them on
co defendants computer servers that separated plaintiffs company to conceal
plaintiffs discovery,in trademark infridgement 43a1125, unfair competition
43a1125,false designation of origin 43a1125, scheme to defraud 18 usc 1346,
wire fraud 1443, mail fraud 1341,computer fraud 18 usc
1029-1030,misappropriation of trade secrets,racketeering 18usc ,extortion under
the hobbs act in violation of RICO 1962 (a)(b)(c)(d) . SEE EXHIBIT E 91,SEE
DISCOVERY D_37,SEE DISPOSITION DS34

1.Defendants intentionally caused plaintiffs company mass corrective
advertising damages at $1 million dollars a day at 365 since discovery
2015-2018 amounting to $1.095 billion dollars + loss in profits as other brand
companies at $20 ‘nillion dollars a year am dollars all totaling $ 2.550 billion
dollars

22. upon information and belief and evidence person defendant #68 michael
bloomberge appears to be the perpatrator behind a pattern of unusal stalking
like incidents to residents in as early as 2005 and continuing in some unusual
hate crime act.P'aintiff had apts in nj in which persons of the jewish religion
bought buildings, payinying twice what they where worth ,and then having plaintiff
evicted. SEE EXHIBITS E92,SEE DISCOVERY D38,SEE DISP OSITION DS35
The unusual _ stalking like incidents seem to be hate crimes related targeting
plaintiff and related to plaintiffs company GORGEOUS JEANS
INTERNATIONAL TM in which plaintiff had been promoting and advertising to go
public since 1998.. The named defendant is associated with th co -defendants.
SEE EXHIBITS E93,SEE DISCOVERYD39,SEE DISPOSITION DS36 -. The
defendant has contacted both mayors of the towns that plaintiff relocated to,

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after harrassment like incidents by local officials and law enforcement
officials,in which plaintiff complained to the local FBI SEE EXHIBIT E94,SEE
DISCOVERY-D40. plaintiff was harassed by local officials and local police soon
after defendant rnade contact. A pattern of incidents that included using local
police officers ,mayors, drug dealers as hitmans to cause trouble and harm for
plaintiff at residence is conduct related to defendant,and the schemes to
embezzle plaintiffs companies. The latest incidents is of the local police station
two blocks away from plaintiffs residence,and police officers conduct is of
accepting bribery,not respond to drug dealers loitering for long periods around
residence of plaintiff as if told not to by three local ex police chief's in Albany
N.Y. Plaintiff also alledges of needing assitance and got 0 response ,multiply
times, conduct of bribery,and running a protection racket for the drug
dealers...Plaintiff had made multiply inquires regarding defendant #68 to the fbi
about probable cause to charge plaintiff with stalking plaintiff as a hate crime
with o response. .SEE EXHIBITS-E95 SEE DISCOVERYD41,SEE
DISPOSITION DS37-- Plaintiff has had to relocate in response to incidents.
Plaintiff has probable cause to believe defendant is the perpatrator of incidents
and other incident of conduct of bribing a judge. In which person judge
lawrence Bushing was sworn in by bloomberge and then immediatly interupted
and presided over a criminal misdeameanor case of plaintiffs,and violated
plaintiff with fraud upon the courts .Judge made false statements claiming
plaintiff was suffering a ment disease that was interfering with plaintiff from
understanding the proceedings, in which was absolutitly false. The judged than
tried to have plaintiff committed to a mental facility,issued a warrant out for
plaintiffs arrest twice for not appearing,in which plaintiff never missed a court
date. The compleintant never appeared in court and plaintiff was entitled to a
dismissal for failure to prosecute at trial date in which plaintiff attended court for
two years on the misdeamenor charge.Plaintiff alledges person defendant is the
cause of the fraud upon the court incident in which plaintiff found out later the
connection between defendant and judge bushing,also other unusual incidents .
SEE EXHIBITS-E96,

Defendant appears to have stalked plaintiff to plaintiffs upstate

residence ,contacted defendant # 69 the mayor of Albany ,and others in

- albany,and upstate locations and orchestrated acts to cause trouble for

plaintiff .defendant is associated with co defendants and one or more of the
defendants conspired harm to plaintiff,to grt plaintiff murdered by drug dealers in
a scheme to defraud plaintiff and plaintiffs companies in violation of murder for
hire 18usc ,bribery 18usc, extortion under the hobbs act, hate crimes
act18usc,stalking 2261a-b,retaliation 18usc , in violation of RICO 1962 (c) (d) --
23.

upon information and belief and evidence , defendants # 70,71,72,73 albany
new york ex police chiefs from 2015-until 2018. The ex police chief's and local
officers _ participated in violent racketeering schemes related to embezzling
plaintiffs companies. The local albany new york ex police chiefs conspired with
co- defendants to get plaintiff out of apt SEE DISCOVERY D48,SEE
DISPOSITION DS 45,out of new york so that co def defendants could set up

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companies of plaintiffs companies identity in NEW YORK..Defendants #
70,71,72,73 conspired as rogue gangsters under the color of law and above
the law to interfere and block plaintiffs equal right to police protection,by luring
dangerous armed drug dealers carrying guns to sell narcotics around plaintiffs
apt. an. Defendants allowed the drug dealers to loiter and sell narcotics on a
daily base 2015-2018. SEE EXHIBITS E109 SEE DISPOSITION DS46.When
plaintiff would call the police on the drug dealers to get away from residence ,the
Albany NY police would tell the drug dealers that plaintiff was the one who
called on them,intentionally putting plaintiffs safety in danger. The drug dealers
would also use the deli across the street as a base to loiter and sell narcotics.
SEE EXHIBIT E110--, in which plaintiff tried to have shut down in which
defendants blocked. SEE DISCOVERY D49. The drug detectives in albany told
plaintiff if plaintiff wanted their help Plaintiff would have to buy drugs from
the drug dealers, in which plaintiff lwould not buy ,police responded ,then do not
expect their help. SEE DISCOVERY D50,SEE DISPOSITION DS47-The albany
new york police officers tried to intimidate plaintiff to move each time plaintiff
had to report a incident,demanding that plaintiff move. plaintiff responded to
police officers that the drug dealers should move ,move to were they live with
their activity, and suppose to be arrested on the spot after a called complaint..
AFTER plaintiff complained that the drug dealers did not live in the area,some
unknown agency or person lured the drug dealers to the side street on clinton
street of plaintiffs residence and moved them in some of the houses . SEE
EXHIBIT E111,SEE DISCOVERY D51,in which the drug dealers would then
show up daily and tell the police they now live on the street. .The drug dealers
stole $140 from plaintiff , ,broke out all of plaintiffs windows in plaintiffs apt
causing minor cuts to plaintiff ,also a drug dealer throwing a full bottle of water in
plaintiffs eye causing swelling and injury in which plaintiff had to seek medical
treatment at albany hospital. The drug dealers also menaced plaintiff several
times with their guns they obtained . Local police in albany ny and the unknown
how many named defendants conspired to intentionally force plaintiff out of apt
in which plaintiff would become homeless,and disrupt plaintiff from stopping the
defendants embezzlining plaintiffs companies. One or more of the defendants or
co -defendants conspired harm,to get the drug dealers to murder plainttiff in a
scheme to defraud plaintiff and plaintiffs companies. The defendants conduct is
of murder for hire. Local police intentionally obstructed justice and state and
local law enforcement relating too new york loitering laws. SEE_ EXHIBIT
E112, SEE DISCOVERY D52,SEE DISPOSITION DS48 The defendants also
violated plaintiffs privacy and stalked plaintiff to parks multiply times that plaintiff
goes to workout causing plaintiff concern for immediate safety. The acts consist
of conduct to cause harm to plaintiff, in which plaintiff contacted the DOJ and
got 0 response. THE named defendants stopped and would not respond to any
of plaintiffs call for assistance in deprivation of plaintiffs right18 usc

241,242 retaliation 18 usc ,bribery 18usc , stalking 2261a-b,murder for hire
18usc ,hate crime 18 usc ,extortion under the hobbs act in violation of RICO
1962 (c)(d), SEE EXHIBITS.E113, SEE DISCOVERY D54,SEE DISPOSITION
DS49..

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24. Upon information and belief defendants # 74 Tech Valley-FIRST LIGHT of
Albany ny ,participated in retaliation acts,and acts to disrupt plaintiff in filing a
civil complaint against named defendants , by disabling the internet services to
plaintiff in 2015-2018,and disconnecting plaintiffs internet services permantly
october 2018, disrupting plaintiff in drafting of complaint that was not finished or
filed yet. Defendants act is consistant of bribery 18usc201 , retaliation 18usc
1513, in violation of RICO 1962 (c) (d)

25. upon information and belief defendant Tom Keppler participated in retaliation
acts against plaintiff, to disrupt plaintiff in filing a civil complaint ,and intentionally
coiercing tenants and local drug dealers to give plaintiff a hard time , telling them
he wants her out, in which they would mumble around me, tom wants her out in
which one tenant ( who was a unstable prostitute un be known to tenant at time
of moving to apt) kept threating plaintiff with hammer for unknown
reason.Plaintiffs windows where broken out by drug dealers loitering in front of
building daily for 10-12 hours SEE EXHIBITS 4A, 5A _ other tenants throwing
garbage in front of plaintiffs door, dumped coffee in plaintiffs new air condition.
Plaintiff also alledges each time on 3 separate occasions of flat tires on 10
speed bike after defendant Tom Keppler left apt doing repairs in which
defendant obviosly intentionally flatted the tires of plaintiff for no known reason.
Plaintiff also alledges of seeing local police approaching defendant Tom Keppler
and both defendants giving plaintiffs dirty looks for unknown reason. Plaintiff
alledges of being a decent, clean, stable,reliable quiet tenant, who has 0 to do
with drugs, and has no guests that visit, does not loiter around building,has
cleaned in and around the building for owner Tom Keppler for nothing just to
keep it clean, and who does not have a superintendant there, and does not
clean around the building or in the building. Plaintiff also alledges of renting apt
in 2013 after answering ad studio for rent on craigslist. Plaintiff alledges rent is
$375.00 and plaintiff has been over paying owner $400 cash payments , since
2015 a extra $25 each month just to be a reliable tenant. The over payments
amount to $1,200 . Plaintiff alledges of defendant aggressively harassing
plaintiff to move out of apt ,of refusing to give a rent receipt after cash payment
oct 2018,and returning about $60-$80 telling plaintiff to move. Plaintiff also
alledges of defendant then claiming plaintiff did not pay oct 2018 and refused to
accept any check from plaintiff for November 2018 after plaintiff told owner oct
18 2018 that rent checks would be mailed to his address from now on.
Defendant also refused to accept any dss payment defendant claimed plaintiff
did not pay oct 2018 after giving plaintiff a eviction letter for non payment on oct
18 , 2018 after plaintiff contacted housing code to have owner Tom Keppler
turn gas -heat on ,and fix broken window in which plaintiffs apt was broken in
twice, which then plaintiffs tires on bike were flat after owner Tom Keppler left
apt in which was the third incident of tires being flatted after he left apt. Plaintiff
also alledges 1 repair cost $40,2™ repair cost $140,and third repair $140
totaling $320 of tire damages. Defendant owner of apt house has been overpaid
$1,200 in rent , as of November 2018 refuses to accept in rent from plaintiff to
force plaintiff out of apt into the streets to be homless,in which defendant filed a
non payment eviction in which he refuses to accept rent payments which makes

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the filed non payment for rent void. Defendant is participating in two counts of
retaliation , in which the ny state 223-b prohibits eviction after 6 months of filing
a housing code complaint . The defendant filed eviction on behalf of the albany
ny defendants in violation of 18usc1511, 18usc ,bribery 18usc ,in violation of
RICO 1962 (c)(d)

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CASE STATEMENT DETAILED; PREDICATE ACTS ,CAUSE OF ACTION ,
RICO STATUTE VIOLATIONS- BY_
PARAGRAPH

1.

1 INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18
USC 1951 -1952

_ COMPUTER FRAUD 18 USC1029 ,1030 a,1,7

_ SCHEME TO DEFRAUD 18 USC 1346

-WIRE FRAUD 18 USC 1343

-MAILFRAUD 18USC 1341

~COMMON LAW TRADEMARK INFRIDGEMENT UNDER 43a 1125
-UNFAIR COMPETITION UNDER 43a 1125 (A)(D)

_FALSE DESIGNATION OF ORIGIN UNDER 43 a1125
9.ECONOMIC ESPIONAGE 18 USC 1831

10.CYBERSTALKING 2261A ,B

14.RACKETEERING 1961

12. EXTORTION UNDER THE HOBBS ACT 18 USC 1959

13 .RICO 1962 (a) (b) (c) (d)

A-B

INTERFERENCE WITH INTERSTATE COMMERCE 18 USC 1951
_UNFAIR COMPETION UNDER 43 a1125

_COMMON LAW TRADEMARK INFRIDGEMENT UNDER 43 a 1125
_ FALSE DESIGNATION OF ORIGIN 43 a1125

_CYBERSTALKING 2261A -B

_ SCHEME TO DEFRAUD 18 USC 1346

_ WIRE FRAUD 18 USC 1343

_COMPUTR FRAUD 18 USC 1029,1030a,7

_ECONOMIC ESPIONAGE 18 USC1831

10. RACKETEERING 1961

44.EXTORTION UNDER THE HOBBS ACT 18 USC 1959

12. RICO 1962 (a)(b)(c)(d)

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-COMMON LAW TRADEMARK INFRIDGEMENT 43 (A) 1125
_UNFAIR COMPETITION 43a 1125

_ FALSE DESIGNATION OF ORIGIN 43 a 1125

_WIRE FRAUD 18 USC 1343

_MAIL FRAUD 18 USC 1341

_SCHEME TO DEFRAUD 18 USC 1346
_RACKETEERING 1961

_ EXTORTION UNDER THE HOBBS ACT 18 USC 1959
_ ECONOMIC ESPIONAGE 18 USC 1831

10. CYBERSTALKING 2261A,2261B

11.RICO 1962 (A)(B)(C)(D)

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_CYBERSTALKING /STALKING 2261A -B

-COMMON LAW TRADEMARK INFRIDGEMENT 43 a 1125
-EMBEZZLEMENT 18 USC

_FALSE DESIGNATION OF ORIGIN 43 a 1125

_ SCHEME TO DEFRAUD 18 USC 1346

-WIRE FRAUD 18USC 1343

-MAILFRAUD 18USC 1341

9. ECONOMIC ESPIONAGE 18 USC 1831

10. EXTORTION UNDER THE HOBBS ACT 1959

11. RICO 1962 (A)(B)(C)(D)

3-3A

1.CYBERSQUATTING 43 a1125

2. COMMON LAW TRADE MARK INFRIDGEMENT 43 1125
3.FRAUD 18USC 1064 43 a 1125

4. EMBEZZLEMENT 18USC

5. FALSE DESIGNATION OF ORIGIN 43 a 1125

6. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18 USC
1951

7. CYBERSTALKING 2261A -B

8. SCHEME TO DEFRAUD 18 USC 1346

9. WIRE FRAUD 18 USC 1343
10.MAIL FRAUD 18 USC 1341

11. RACKETEERING 1961

12. ECONOMIC ESPIONAGE 18 USC1831

43. EXTORTION UNDER THE HOBBS ACT 18 USC 1959
14. RICO 1962 (A) (B) ( C) (D)

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1.CYBERSTALKING 2261A-B

2. FALSIFYING RECORDS

A-C-

COMMON LAW TRADE MARK INFRIDGEMENT 43 a 1125
FALSE DESIGNATION OF ORIGIN 43 a 1125

UNFAIR COMPETION 43 a1125
CYBERSTALKING/STALKING 2261 A -B
SCHEME TO DEFRAUD 18 USC 1346

_ WIRE FRAUD 18 USC 1343

_ MAIL FRAUD 18 USC 1341

-RACKETEERING 1961

_ EMBEZZLEMENT 18 USC

10. EXTORTION UNDER THE HOBBS ACT 18 USC 1959
11. RICO 1962 (A)(B) (C) (D)

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1.CYBERSTALKING 2261A-B

2.COMMON LAW TRADEMARK INFRIDGEMENT 43 a 1125
3.FALSE DESIGNATION OF ORIGIN 43 a 1125

4. UNFAIR COMPETITION 43 a 1125

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5.SCHEME TO DEFRAUD 18 USC 1346

6. WIRE FRAUD 18 USC 1343

7.MAIL FRAUD 18 USC 1341

8. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18 USC
1951

9. EXTORTION UNDER THE HOBBS ACT 18 USC 1959
10.RACKETEERING 1961

11.RICO 1962 (A)(B)(C)(D)

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1.CYBERSTALKING 2261A -B

2. CYBERSQATTING 43 a1125

3. UNFAIR COMPETITION 43a1125

4.COMMON LAW TRADEMARK INFRIDGEMENT 43a1125

5. FALSE DESIGNATION OF ORIGIN 43a 1125

6. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18
USC1951

7.SCHEME TO DEFRAUD 18 USC 1346

8. COMPUTER FRAUD 1029 ,1030 A,1,7

9. WIRE FRAUD 18 USC 1343

10. MAIL FRAUD 1341

11. ECONOMIC ESPIONAGE 18 USC 1831

42.EXTORTION UNDER THE HOBBS ACT 18 USC 1959
13.RACKETEERING 1961

14. RICO 1962 ABCD

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AB

1.CYBERSTALKING /STALKING 2261A -B

2. COMPUTER FRAUD 18 USC 1029,1030a,1,7

3. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE
18USC1951

4. SCHEME TO DEFRAUD 18 USC 1346

5. WIRE FRAUD 18 USC 1343

6. MAIL FRAUD 18 USC 1341

7. COMMON LAW TRADEMARK INFRIDGEMENT 43a 1125
8. UNFAIR COMPETITION 43a 1125

9. FALSE DESIGNATION OF ORIGIN 43 a 1125

10. EMBEZZLEMENT 18 USC

11. ECONOMIC ESPIONAGE 18 USC 1831
42.EXTORTION UNDER THE HOBBS ACT 1959
13.RACKETEERING 1961

14.RICO 1962 A,B,C,D

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1. CYBERSTALKING /STALKING 2261A-B

2. ECONOMICAL ESPIONAGE 18 USC 1831

3. UNEAIR TRADE PRACTICES 43a1125

4. COMMON LAW TRADEMARK INFRIDGEMENT 43a1125

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5. FALSE DESIGNATION OF ORIGIN 43 a 1125

6. SCHEME TO DEFRAUD 18 USC 1346

7. COMPUTER FRAUD 18 USC 1029, 1030

8. WIRE FRAUD 18 USC 1343

9. ECONOMIC ESPIONAGE 18 USC1831

10.EXTORTION UNDER THE HOBBS ACT 18 USC 1959
11. RACKETEERING 1961

12.RICO 1962 A ,B,C,D

9.

1. UNFAIR TRADE PRACTICES 43a1125

2.FALSE DESIGNATION OF ORIGIN 43a1125

3. SCHEME TO DEFRAUD 1346

4. WIRE FRAUD 1343

5. EXTORTION UNDER THE HOBBS ACT 18USC 1959

6. RIC 1962 (C) (D)

10.

1. TRADEMARK INFRIDGEMENT 43a1125

2. UNFAIR TRADE PRACTICES 43a1125

3. CYBERSTALKING 2261A-B

4. ECONOMIC ESPIONAGE 18USC1831

5. SCHEME TO DEFRAUD 1346

6.WIRE FRAUD 1343

7.MAIL FRAUD 1341

8.RACKETERIING 1961

9. RICO 1962 (a)(b)(c)(d)

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1.CYBERSTALKING 2261A-B

2. COMMON LAW TRADEMARK INFRIDGEMENT 43a 1125
3.UNFAIR TRADE PRACTICES 43a 1125

4. SCHEME TO DEFRAUD 18 USC 1346

5. WIRE FRAUD 18 USC 1343

6. MAIL FRAUD 18 USC 1341

7. EXTORTION UNDER THE HOBBS ACT 1959

8. TRAFFICING IN COUNTERFEIT GOODS 18 USC 2320
9. RACKETEERING 1961

10. RICO 1962 A,B,C,D

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1.CYBERSTALKING /STALKING 2261A -B

2. COMMON LAW TRADE MARK INFRIDGEMENT 43 a 1125
3. SCHEME TO DEFRAUD 18 USC 1343

4. WIRE FRAUD 18 USC 1343

5.MAIL FRAUD 18 USC 1341

6.UNFAIR TRADE PRACTICES,FALSE DESIGNATION OF ORIGIN 43a 1125
7.COMPUTER FRAUD 18 USC 1029 ,1030 A,1,7

8. TRAFFICING IN COUNTERFEIT GOODS 18 USC 2320
9. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18 USC

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10. EMBEZZLEMENT 18 USC

11. ECONOMIC ESPIONAGE 18 USC1831
12,.EXTORTION UNDER THE HOBBS ACT 18 USC1959
13. RACKETEERING 1961

14. RICO 1962 A,B,C,D

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1.ECONOMIC ESPIONAGE 18 USC 1831

2.COMMON TRADE MARK INFRIDGEMENT 43a 1125
3. FRAUD 18 USC 1064 43a 1125

4. PUBLIC CORRUPTION 18 USC 201

5.UNFAIR COMPETITION 43a 1125

6.CYBERSTALING /STALKING 2261A-B

7. FALSE DESIGNATION OF ORIGIN 43 a 1125
8.SCHEME TO DEFRAUD 18 USC 1346

9. WIRE FRAUD 18 USC 1343

10. MAIL FRAUD 18 USC 1341

11.COMPUTER FRAUD 18 USC 1029, 1030 a,1,7

12. EXTORTION UNDER THE HOBBS ACT 1959

13. RACKETERING 1961

14. RICO 1962 A,B,C,D 14. RICO 1962 A,B,C,D

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1.CYBERSTALKING /STALKING 2261A -B

2. COMMON LAW TRADE MARK INFRIDGEMENT 43 a1125
3. SCHEME TO DEFRAUD 18 USC 1346

4.WIRE FRAUD 18 USC 1343

5.MAIL FRAUD 18 USC 1341

6.COMPUTER FRAUD 18 USC 1029,1030 A,1,7

7. UNFAIR TRADE PRACTACIES 43 a 1125
8.FALSE DESIGNATION OF ORIGIN 43 a1125

9. EMBEZZLEMENT 18 USC

10. ECONOMIC ESPIONAGE 18 USC 1831
11.EXTORTION UNDER THE HOBBS ACT 18 USC 1951
12.RACKETEERING 18 USC1961

13.RICO 1962 A,B,C,D

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1. CYBERSTALKING/STALKING 2261A-B
2.CYBERSQUATTING 43 a 1125

3. INTERFERENCE WITH INTERSTATE AND FOREIGN COMMERCE 18 US C
1951

4. COMPUTER FRAUD 18 USC 1029 ,1030 a,1,7

5. UNFAIR TRADE PRACTICES 43 a 1125

6. COMMON LAW TRADE MARK INFRIDGEMENT 43 a 1125
7. FALSE DESIGNATION OF ORIGIN 43 a1125

8. EXTORTION UNDER THE HOBBS ACT 18 USC 1959

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9. ECONOMICAL ESPIONAGE 18 USC 1831
10.SCHEME TO DEFRAUD 18 USC 1346
11.WIRE FRAUD 18 USC 1343

12.MAIL FRAUD 18 USC 1341

13. RACKETEERING 1961

14.RICO 1962 A,B,C,D

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1.RETALIATION 18 USC 1513

2. CYBERSTALKING/CYBERBULLYING 2261A-B
3. UNFAIR TRADE PRACTICES 43 a 1125

4. DEFAMATION

5. RICO 1962 C,D

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1.CYBERSTALKING 2261A -B

2. UNFAIR TRADE PRACTICES 43a1125

3. CYBERSQUATTING 43a,d1125

4. COMMON LAW TRADE MARK INFRIDGEMENT 43 a 1125
5. SCHEME TO DEFRAUD 1346

6. WIRE FRAUD 18 USC 1343

7. MAIL FRAUD 18 USC 1341

8. EXTORTION UNDER THE HOBBS ACT 18 US 1959
9.RICO 1962 A,B,C,D

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1.STALKING 2261A-B

2. HATE CRIME

3.RETALIATION 18USC1513

4.BRIBERY 18 USC 201

5.EXTORTION UNDER THE HOBBS ACT 18 USC 1959
6. MURDER FOR HIRE 18 USC 1958

7.RICO 1962 C,D

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1.STALKING 2261A-B

2.BRIBERY 201

3.RET ALIATION 18 USC 1513

4.MURDER FOR HIRE 1958

5.DEPRIVIATION OF RIGHTS 242
6.EXTORTION UNDER THE HOBBS ACT 1959
7.OBSTRUCTION OF STATE AND LOCAL LAW ENFORCENT
8.RICO 1862 C,D

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1. BRIBERY 201

2. RETLIATION

3. RICO 1962 C,D

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1. BRIBERY 201

2. RETALIATION 18USC1513
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3.RICO 1962 C,D
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SUMMARRY OF INJURIES
IDAMAGES

$91.450 BILLION DOLLARS

1.LO0SS IN PROFITS AS OTHER BRAND COMPANIES- $ 6 BILLION

DOLLARS 2. CORRECTIVE ADVERTISING COSTS -$6 BILLION DOLLARS

3. PRO SE FEE'S,COURT COSTS,COST TO INITIAT

LAWSUITT,ATTORNEY'S COST $ 100 MILLION DOLLARS

4. RELOCATION COSTS $100 MILLION

5. UNPAID ROYALATIES BY NAMED $150,000,000 MILLION

DOLLARS ees
leceeeeeeeeeeeeeeeeeteeeneentseensnnaeaeaaeees AMOUNT OWED BY EACH NAMED

DEFENDANT OF THE $ 91 .450 BILLION DOLLARS

1.LOSS IN PROFITS AND REVENUE AS OTHER COMPANIES-

1 COMPANY/ $ 80 MILLION DOLLARS 2 COMPANIES-$160 MILLION

DOLLARS SINCE DISCOVERY 2015 BY EACH

2.CORRECTIVE ADVERTISING COSTS -NATIONWIDE- @ 1MILLION

DOLLARS A DAY =$ 365 MILLION X 3 YEARS OF CORRECT DESTINATION

OF ORIGIN SINCE DISCOVERY 2015 =$ 1.560,000,000 BILLION DOLLARS

BY EACH DEFENDANT

3.PRO SE COSTS ,AND COST TO BRING THE LAWSUIT , TRAVELING AND

RELATED COURT COSTS,COSTS OF EXPERT WITNESSES AND

ATTORNEYS § 2.740,000 MILLION DOLLARS BY EACH DEFENDANT

4.RELOCATION COSTS $ 3 MILLION DOLLARS BY EACH DEFENDANT

5. UNPAID ROYALATIES AT @ $15 MILLION DOLLAR BY EACH NAMED

DEFENDANT

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LISTS OF EXHIBITS

CASE STATEMENT

A.INTRO PAGE-E1,E2,E21,55,E56,E56AE57,£58,E59,E60,E61,E62,E65
B.SEARCH ENGINE DEFENDANTS -
E8,£9,E11,E13,E14,E15,E16,E17,£64,£81,£82,£83,E84,E85,E86

C. COMPETITORS -E46,E47,E49,E50

D. E72 (1-100)

E.-E87,E88,E89-E51 (1-100 ),E52 ,E53 ( 1-100 )

F.E91 (1-100)

G.E96

H. E95,E104,E105,E106,E107,E108,E113,E114,E115.
1.£109,E110,E111,E112

J.E90

K. LIST OF SIMILAR COMPLAINTS

L. LEGAL DEFINITIONS

M. EXPERTS,EXPERT WITNESSES

N.STATE VIOLATIONS EXHIBITS

O.PREDICATE ACT DEFINITIONS

P.E19,E20
Q.E32,E33,E34,E35,E36,E37,E38,E39,E40,E41,£42,E43E44,E45
R.E22,E23,E24,E25,E26,E27,E28,E29,E30

S. EE63,E92,E93,E94,E97,E98,E99,E100,E101,E103,E104

T. E10,E15,E67,

U. DISCOVERIES + DISPOSITIONS

V.CV1,CV2,CV3,CV4

DP DISNEY + PIXAR - E66,E68,E69,E70,E71,DP1,DP2,DP3,DP4,DP5
AEP-.AMAZON,EBAY,PAYPAL -
E73,E75,E76,E77,E78,AM1,AM2,AM3,AM4,AM5,EB1,EB2,EB3,EB4,EB5,PP1,P
P2,PP3,PP4,PP5

CDDC -
CD1,CD2,CD3,CD4,CD4,CD5,CD6,CD7,CD8,CD8,CD9,CD10,CD11,CD12,CD1
3,CD14,CD15

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TIME FRAME TO TRIAL

4. COMPLAINT FILED /INJUNCTION MOTIONS- REPLYS/ ANSWERS - 16
DAYS

2. REPLYS/ ARGUMENTS /MOTIONS /DISCOVERY- 26 DAYS

3. MEDIATION /SETTLEMENT CONFERENCE -2 WKS

4. TIME FRAME- DISCOVERIES -REQUEST FOR DISCOVERIES /REQUEST
FOR PRODUCTION /REQUEST FOR ADMISSION /POSITIONS/ EXPERT
WITNESSES 2- 4 MONTHS

5. COURT CONFERENCE - STATUES OF DISCOVERIES /FINAL STATUES/
3-4 DAYS

6. TIME ESTIMATE OF TRIAL 3-4-DAYS, OR 7-20 DAYS

7. TRIAL DATE IN 8 MONTHS. PLAINTIFF IS PREPARED FOR TRIAL-

( documents , that include evidence from exhibits)
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ADDRESSES

41.LARRY PAGE (CEO GOOGLE,ADSENSE ,YOU-TUBE)-1600_
AMPHITHEATER PARKWAY ,MOUNTAIN VIEW CA 94043

2. SERGEY BRIN - (CEO GOOGLE ,ADSENSE ,YOU -TUBE )1600_
AMPHITHEATER PARWAY ,MOUNTAIN VIEW ,CA 9403

3. MARK ZUCKERBERG ( CEO FACEBOOK)- 4 HACKERWAY ,MENLO
PARK,CA 94025

4.DAVID FILO (EX CEO YAHOO ) 46 PALO ALTO ,CA 94306

5 JERRY YANG ( EX CEO YAHOO) 44 LOS ALTOS HILLS ,CA 94022
6.MARISSA MAYER ( EX CEO YAHOO,CHAIRMAN WALMART ) -165.
UNIVERSITY PALO ALTO ,CALIFORNIA

7. HANS VESTBERG (CEO OF VERIZON ) 226 WEST 45 TH STREET NEW
YORK, NY

8. JEFF BEZIO (CEO AMAZON.COM )-1200 12 TH AVENUE SOUTH SUITE
1200,SEATTLE ,WA 98144

9. SATYA NADELLA ( CEO MICROSOFT , BING )- 1 MICROSOFT

WAY ,REDMOND ,WA 98052.

10. BRAD SMITH (CEO MICROSOFT ,BING )- 1 MICROSOFT WAY
REDMOND ,WA 98052

11. GABRIEL WEINBERG - (CEO GODUCKGO )20 PAOLI PIKE ,PAOLI
PENNSYVANIA 19301

42. DOGPILE - GONET- ?

13. DEVIN WENG - ( CEO CEO EBAY,PAYPAL )2025 HAMILTON

AVENUE ,SAN JOSE ,CA 95125

14.PIERRE OMIDYAN ( CEO EBAY,PAYPAL ) - 2025 HAMILTON

AVENUE ,SAN JOSE,CALIFORNIA ,CA 95125

15.TIM ARM STRONG (CEO AOL ) -770 BROADWAY NEW YORK ,NY 10003

16. BEN SIBERMAN (CEO PINTEREST ) 808 BRANNAN STREET
SANFRICISCO ,CA 94103
17. JOEY LEVIN- CEO (ASK, IAC ) 55 WEST 18TH STREET NEW YORK ,NY

18. JOAN WILSON (CEO UNION SQUARES VENTURES) 915 BROADWAY
NEW YORK .NY 10010

19.FRED WILSON (CEO UNION SQUARES VENTURES )915 BROAWAY
NEW YORK ,NY 10010

20. AMY CHESHIRE ( HEY GORGEOUS ) 270 WEST 38TH STREET NEW
YORK NY

21. DAVID WECHSLER (HEY GORGEOUS )270 WEST 38 TH STREET NEW
YORK, NY

22. JASON APFEL (CEO FRAGRANCE.NET )900 GRAND BLVD ,DEER

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PARK NEW YORK,NY

23. LLOYD PARKS -3250 BROADWAY APT 145 NEW YORK,NEW YORK
10027 .

24. MICHAEL LOGAN -3250 BROADWAY APT 145 NEW YORK,NEW YORK
10027

25. GRES MAFFEI - 1 HSN STREET,PETERSBURGH ,FLORIDA 33716

26.JOHN MALONE (CEO HSN ) - 1 HSN_ ST. PERTERSBURGH ,FLORIDA
33716

27.AJAY SINGH -GORGEOUS FOREVER

28. LES WEXNER - ( CEO VICTORIA'S SECRET ) THREE LIMITED
PARKWAY ,COLUMBUS ,OHIO 43230

29. DAVID MCCONNELL- OF AUSTRAILAN ( GORGEOUS COSMETICS )
8616 LA TIJERA BOULEVARD ,LOS ANGELES ,CA 90045

30. KIM KARDASHIAN WEST-

31. KYLE KARDASHIAN

32..DOUGLAS MCMILLION - (CEO WALMART )702 WEST EIGHTH STREET
BENTONVILLE ,ARKANSAS 72716

33.KANYE WEST-

34..HELEN GIBSON - CEO HELLO GORGEOUS ) 1829 CORDOVA

ROAD -17TH STREET CAUSEWAY ,FORT LAUDERDALE , 33316
35.DOMENICO SOLE (CEO GUCCI )-50 HARTE WAY SECAUCUS ,JERSEY
CITY,NJ 21030

36. CHRIS DE LAPUENTE ( CEO SEPHORA ) 525 MARKET STREET ,FIRST
MARKET TOWER FLOOR 36 ,SAN FRANCISCO ,CA 94105

37. SALLY HERSHBERGER ( CEO GET GORGEOUS SALLY
HERSHBERGER )25 WEST 26TH STREET 2ND FLOOR NEW YORK ,NY
38.DAVID TAYLOR, MICHELE SCANNAVINI (EX -CEO COTY )- 350 5TH
AVENUE ,17 TH FLOOR NEW YORK,NY 10018

39. GORGEOUS COUTURE -(CEO) LTD POBOX 701 SAN MATEO
CALIFORNIA 94401

40. GORGEOUS ANTIQUES (CEO) 467 DELAWARE AVENUE ALBANY NY
12208

41. ABIDALI NEEMUCHWATA ( CEO YARDLY ) 3030 1114 6TH AVENUE NEW
YORK ,NY

42 . MATTHEW FARRELL (CEO VITAFUSION )-500 CHARLES,EWING
BLVD ,EWING N.J. 08628

43. BLAKE NORSTORM ( CEO NORSTOR\M) - 1600 SEVENTH AVENUE
SUITE 2600 SEATTLE, WA 98101

44. DICK COSTOLO (CEO TWITTER )- 1355 MARKET STREET SAN

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FRANCISCO ,CA 94103

45. BOB MARINO (CEO CAFEPRESS ) - 11909 SHELBYVILLE ROAD,
LOUISVILLE ,KENTUCKY 40243

46.FRED DURHAM (CEO CAFE PRESS ) - 11909 SHELBYVILLE ROAD
LOUISVILLE,KENTUCKY 40243

47.ZAZZLE- ROBERT BEAVER 1800 SEAPORT BOULEVARD REDWOOD
CITY ,CA 94063

48. INSTAGRAM- KEVIN SYSTROM- 200 JEFFERSON DRIVE MENLO

PARK ,CA 94025

49. YELLOW PAGES - (CEO JARED ROWE) -247 NORTH LAKE PKWY ,GA
30084

50. BOB IGER DISNEY -500 S. BUENA VISA STREET ,BURBANK ,CA 91521
51. PETER DOCOR -PIXAR - 1200 PARK AVENUE EMERYVILLE ,CA

52. LG ENTERPRISES- 201 JAMES RECORD RD,

HUNTSVILLE ,ALABAMBA, 35824

53. VOSTOK EUROPE WATCHES - VILNIUS KOLIZ -VYTENIO STR22
LY-03229 VILNIUS ,LITHUANIA ; EMAIL info @votok -europe.com

54. VOSTOK EUROPE WATCHES- KOLIZ VOSTOC - VYTENIO

STR.22 ,LT -03229 VILNIUS ,LITHUANIA +370 52 10 6342

55. JEAN PIGOZZI - 1 WEST 67 TH STREET STE NEW YORK ,NY 10023

56. KD WAVE- 1 WEST 67 TH STREET STE 901 NEW YORK ,NY 10023

57. LIMOSANDLIQUOR - BEN BROWN -PITTSBURGH ,PENNSYLVANNIA ?
58.ZIMZILLA - 70 BLANCHARD RD BURLINGTON ,MASSACHUSETTS 01803
59 BIG CARTEL -MATT WIGHAM,ERIC TURNER -362 WEST PIER POINT
AVENUE ,SALT LAKE CITY , UTAH 84101

60.RED BUBBLE- BARRY NEWSTEAD, MARTIN HOSKING - -111 SUTTER
STREET 17TH FLOOR ,SAN FRANCISCO ,CA 94104

61. REDARTISM - ?

62. FRITZ LIMO-GERMANY-?

63. (LIMO SUN CEO) - GAOSHA INDUSTRIAL COMPLEX BUILDING ,2A Z
HONGCUN STREET ,PANYU ,DISTRICT GUANGZHOU CHINA 511400
64.(GORGEOUS GIRL COSMETICS CEO )- 6776 SOTHWEST FREEWAY #
530 HOUSTON TEXAS ,77036

65. PENNY PRITZER- 300 N. LASALLE STREET SUITE 1500 ,CHICAGO,
ILLINOISE

66. REBECCA BLANK-161 BASOM HALL 500 LINCOLN DRIVE MADISON ,WI
53706

67. WILBUR ROSS - HERBERT C. HOOVER BUILDING ,1401
CONSTITUTION AVENUE ,NW, WASHINGTON DC 20230
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68. MICHAEL BLOOMBERGE -731 LEXINGTON AVENUE ,NEW YORK,NY
10022

69.KATHLEEN SHEEHAN - (ALBANY, NY MAYOR ) 24 EAGLE STREET
ALBANY ,NY 12208

70. ROBERT SEARS (ALBANY NY EX POLICE CHIEF ) 165 HENRY
JOHNSON BLVD ALBANY ,NY 12210

71. STEVEN KROKOFF -2006 HERITAGE WALK ,MILTON ,GA 30004
(ALBANY NY EX - POLICE CHIEF)

72. BRENDAN COX ( ALBANY NY EX POLICE CHIEF ) 165 HENRY STREET
ALBANY NY 12210

73. DERRICK SCHULTZ ( ALBANY NY ) POLICE OFFICER - 165 HENRY
JOHNSON BLVD 12210

74. KURT VAN WAGENEN ( CEO -TECH VALLEY-FIRST LIGHT )- 41 STATE
STREET ALBANY NY 12207

75.TOM KEPPLER- 588 ELM AVENUE , SELKIRK ,NY 12158

76.GO DADDY - (CEO SCOTT WAGNER) - 14455 N. HAYDEN RD,SUITE
226 SCOTTSDALE, ARIZONIA 85260

77. ENOM- SEAN MORIARTY - 58808 LAKE WASHINGTON BLVD ,NE 300
KIRKLAND ,WA 98033

78. ENOM -ELLIOT NOSS 5808 LAKE WASHINGTON BLVD , NE 300
KIRKLAND ,WA 98033

79. DAVID BROWN (CEO NETWORKSOLUTIONS) - 505 HUNTMAN
DR,HERNDON, VIRGINIA, JACKSONVILLE ,FLORIDA

80. JAMIE DIMON ( CEO CHASE BANK ) 270 PARK AVENUE FLOOR FLOOR
42 NEW YORY ,NY 10017

81. NAME.COM( CEO)- 414 14TH STREET #200, DENVER,COLORADO
80205

82. NAMESILO.COM- (CEO)1300 E. MISSOURI AVENUE ,SUITE 110
PHOENIX ,ARIZONIA

83.HUGEDOMAINS.COM CEO JEFF REBERRY AND ANDREW BERRY -
2635 WALNUT STREET DENVER ,COLORADO 80205

84.DYNADOT,LLC - TODD HAN PO BOX 701 ,SAN MATEO,CALIFORNIA
94401

85.DROPCATCH.CO -2635 WALNUT STREET ,DENVER COLORADO 80205
86.FASTDOMAIN -JEFF 1500 N PRIEST DR,SUITE 200 TEMPE ,ARIZONIA
85281

87.DOMAILLOCAL (CEO )-

88.ASICO TECHNOLOGIES (CE0)-

89.HOSTGATOR

90.TUCOWS- (CEO ELLIOT NOSS )5808 LAKE WASHINGTON BLVD NE #

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201 KIRKLAND WA 98033

91. REBEL CORP - ROB VILLENEUVE (CEO)-

92. 123 REG LIMITED -

93. NAMESAY LLC- 2635 WALNUT STREET DENVER COLORADO 80205
94.WILD WEST DOMAIN - (CEO SCOTT WAGNER) 14455 NORTH HAYDEN
ROAD ,SUITE 226 SCOTTSDALE ARIZONIA 85260

95. CSC CORPORATION -(CEO -BRUCE WINN) -251 LITTLE FALLS DRIVE
WILMINGTON ,DE 19808

96.1 AND 1 INTERNET AG- ( CEO ACHIM WEISS ) 701 LEE RD. SUITE 300
CHESTERBANK PA 19087

97. LAUNCH PAD
